EXHIBIT A
                                     SUMMONS                                                                                  FAR COUR| USE ANLY
                                                                                                                         (soLo PARA USA DE tA CORTE]
                                 (ctTActou JUDtctAL)                                                                  ELECTRONICALLY FILED
                                                                                                                   Superior Court of California
NOTICE TO DEFENDANT:                                                                                                        County of Sonoma
(AV|SO AL DEMANDADO):                                                                                                            4l15l2O2A 8:00 AM
DAVE STANLEY; BARRY W MEYER, EXECUTOR OF THE ESTATE OF MELVIN ROUSEIAil:hE                                           Junior, Clerk of the Gourt
DOES 1 through 50                                                 By: Al                                            ndria Hankes, Deputy Clerk
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
BAWIEW LOAN SERVICING, LLC
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you lo file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not p.otect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find the$e court forms and more information at the California Courts
Online Self-Help Center (www.couiinfo.ca.gov/selfhelp). your county law library, orthe courthouse nearestyou. lf you cannot paythe filing fee, ask the
court clerk for a fee waiver form. lf you do nct file your response on time, you may lose the case by default, and your wages, money. and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. lf you do not know an aftorney. you may want to call an attorney
referral service. lf you carrnot afford arr attorney, you may be eligible forfree legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifarnia.org\, the California Courts Online Self-Help Center
(www.couftinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settiement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
;AVISO! Lo han demandado. Si no responde dentro de 30 dias, la cafte puede decidir en su contra sin escuchar su version, Lea la informaci5n a
cantinuaci6n.
   Tiene 30 D1AS DE CALENDARrc despuds de que te entreguen esta citacidn y papeles legales para presentar una respuesta par escrifo eI, esfa
cafte y hacer que se eniregue una copia al demandante. Una cafta o una llamada telef1nica no lo protegen. Su respuesla por escito tiene que estar
en formato legal correcto sl desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su resplesta.
Puede encontrar estos formularios de la corte y mes informaci1n en el Centro de Ayuda de ias Cortes de Califomia iwww.sucofte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede m's cerca. Si no pueCe pagar la cuata de presentacion, pida al secretario de la corte que
le dd un formulario de exenci5n de pago de cuatas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le padr6
quitar su sueldo. dinero y bienes sln mes adveftencia.
   Hay otros requisitos iegales. Es recomendable que llame a un abagado infiediatamente. Sl no canoce a un abogado, puede llamar a un servicio de
remisi5n a abogados. Si no puede pagar a un abogado, es posible que cumpla con las requisitos para abtener seryicios legales gratuitos de un
programa de serriciosiegales srn fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Califarnia Legal Services,
(www.lawhelpcalifornia.org). en el Centro de Ayuda de las Coftes de California, (www.sucorte.ca.gov) o poniendose en contacto con la cofte o el
colegio de abogado,g /ocales. A ylSO : Por ley. la cafte tiene derecho a reclaffiar las cilofas y los costos exenfos por imponer un gravamen sobre
cualquier recuperccion de $1A.000 6 mds de valor recibida mediante un acuerdo o una concesi'n de arbitraje en un caso de derecho civi!. Tiene que
pagar el gravamen de la corle antes de que la code pueda desechat el casa.
The name and address of the court is:                                                                   CASE NUMBER: (/Vdrnero det Caso):
(El nombre y direccion de la corte es):                                                                            scv-266245
Superior Court of California, County of Sonoma
600 Administration Drive, Santa, Rosa, CA 95403
The name, address, and telephone number of plaintiff s attorney, or plaintiff without an attorney, is: (Ei nombre, la direcci1tt y el nitmero
de tel€fano del abogado del demandante, o del demandante que no tiene abogado, es):
Seth Harris, Esq., McCarthy Holthus LLP, 411 lvy Street, San Diego, CA 92101 619-6854800

?}rF'
(recna)
          .     4tist2ozo 8:oo AM                   AfitEF$E D,         Jt${m           Clerk, by                                                    , Deputy


(For proof of service of this summons, use Proof of Service of Summons (form      -ua).)                                  Alexandria               an kes
(Para prueba de entrega de esla citation use el fonnulario Praot of Service of Summons, (POS-010).)
                                  NOTICE TO THE PERSON $ERVED: You are served
 [SEAL]
                                     1.          as an individual defendant.
                                                                                                                    Doe 2
                                     2.     x    as the person sued under the fictitious name of (specify)

                                     3. EI on behalf of (specify): lnternal Revenue Service
                                        under:f] CCP 416.10 (corporation;                   l-_l                   ccP 416.60     (minor)

                                            l-l ccp      416.2A (defunct  corporation)
                                                        CCP 416.40 (association or partnership)            l-l     CCp 416.90 (authorized person)
                                                    x other (specjfy)j 416.50 public entity
                                     4           by personal delivery on (date)
                                                                                                                             Code of Civii Proffidure SS 4J2.20, 465
Fonr Adopied for ManCatory Use                                        SUMMONS                                                                     viu&v.caLtis.ca.gav
Judicial council ot califctria
SUM-100 lRev. i!l'! i, 2acg)


                                                                             sforni'       Save this form
                      I   MTCARTHY & H$LTHUS, LLP
                          N{elissa Robbins C'outts. Esq. (SBN: 346721}
                          Kelsey ["uu. Esq. {SBN; 315593}
                          3765 Camino Del Rio li. Suite ISfi
                  -t      San Diego.CA 92108
                           'felephone: {Sl9}685.4&fl0
                  4        Facsinrile: {619} 6S5-4*l I
                  5       ,r\ttfinrels for l'Ittintill. ISayvien' Loan Servicing. LLC

                  s



                  I                                          STIPERIOR COURT OF THE STATE OF CALIFORNIA
                  9                                                        COUNTY OT SONOMA
                 Ir]
                            BAYVIEW LOAN SERVICIN{i. t,LC.
                 II                                                                           ease   Nq.   SCV-2662.15
                                                                                 Plaintill.
                 l2                                                                           AMENDMtrNT TO CCIMPLAINT
'ta         e              v
i.73!9
                 t3                                                                           lc.c.P.   $4741
'1-7-X                      DAVI STANLI]Y. BI]RRY W MI]YER"                                   Complaint Filed: April I5. 2020
  .   t2,-A      t4         I:XECUTOR ()F THE ESTATE OF h{El,VIN
iarlE                       RSIJSII: anel DOHS 1 through 50 inclusive.
dl 7i:3          I5
:}5ti       B
                                                                            m*thndant.$.
J t.li:.U        r6
w?          "-
aY               tt
\J:
            &
                                         Llpon          iiling the feimplaint herein. Plainti$f being ignor*nt nf the true name ul" a
 a,      lrJ

                 l{i      clefbndant- and having designated defbndant                  in the Complaint try the fictitioun name nf DOf:       3-

                 lq and having discovered the true                      narne   of the defendant t* be Internal Revenue     Servic.e" I'}laintiff

                 30       hereby amends the Conrplaint by inserfing true name in place and instead of such fiptitinus nanre

                 ll       rvherever it appears in said Conrplaint, This amendment is made pursuant to Cal. Code ol'Civil
                 1")
                          Procedure              rs   474.

                 ?:i
                          Dated: Jul"v 16,30?1                                             Respectfully submitted"
                 24
                                                                                           toIeCARTHY &                    LLP
                 2]
                 J{r                                                                  $y
                                                                                           Kelsey       Ilsq.
                 11
                                                                                           Attorneys for P/erintifl- Bayvicu [,oan Stn'icing.
                                                                                           LLC
                 ll{
                                                                         AMENDMENT TO COMFLAINT
                          ( \.trLs::{.t:,lx ll
                     McCARTIIY & HOLTHUS' LLP
                1    Melissa Couttso Esq. (SBN: 253345)
                     Seth FIarris, Esq. (SBNr ?538S2)
                2    4ll W Street
                     San Diegnr CA 92101
                      Telephone: (619)6&5-48CI0
                      Facsimile: {6t9)dS5-4811
                4     Email;          sharrit@fulcCarthyHolthus.som

                5    Attorneys fir Plaintiffl
                     Bayview Loan $ervicing, LLC
                6

                7

                I                     SUPERIOR COI.IRT OF THE STATE OF CALITORNIA
                I                                       COUHTY OT SCII1{OMA
               10

               il      BAYVIEW LOAN SERVICING. LLC,                        Case No. SCV-366245

Fa;            t?                                            Plaintiff.
Fi         t
                                                                           AMENDSIENT TO COMPLAINT
vi$            t3      v.
H>
tt     =g
       sE      l.[     DAVE STANLEY; BARRY VT MEYER
                                                                           lccP      $ 4741

HisrE                  EXECUTON TF tHP ESTATE OF MEiVIN
Ecl:ERS
t4i)ra3o       l5      ROUSE; and DOES I through 50 inclusive.
sEl:i
>F=gq l6                                                  Defendants.
ii{
tv.
    #fz        l7
rI         E
 u!)           l8           Upon filing the Complaint herein Plaintiffbeing ignorant of the true name of a d*fendant"
ETF
ta
               I9 and having designated defendant in the Complaint by the fictitious name of DOE                  I   and having

               20    diseovered the true name of the defendant to be Lisa J" Stanley hereby amends the Complaint by

               )t    inserting tru€ nsme in place and in*stead   of such fictitious      nams wherever     it   &ppears   in   the

               22    Complaint. This emendment is made purtuant to                   of Civil Procedure   $ 474

               z3    Dated: August   27,2020                     By:

               ?4                                                      *{,ttorneys
                                                                       Bayview l-oan Servicing, LLC
               25
                     OADER
               26    Gsod Cause appearing- the above amendnrrnt to the Complaint is allnwed.

               ?7    Dated:---
                                                                       Judge af the Superior Court
               28

                                                      AMENDMENT TO COMPLATNT
-




                       I   McCAItTttY & HOLTHUS, LLP                                                          ELECTRONICALLY FILED
                           ivlelissa Cloutts. Esq. (SBN: 2533451                                            Superior Gourt of California
                      2    Seth Harris, Esq. (SBN: 253802)                                                           County of Sonoma
                           4l I Ivy Street                                                                            411512020 8:00 AM
                      _)   San Diego, CA 92101                                                      Arlene D. Junior, Clerk of the Gourt
                            Telepl,   one: (619) 685-4800                                          By: Alexandria Hankes, Deputy Clerk
                      4     Facsimile:        (619)685-481I
                            Email:            sharris(i)McCarthyl-lolthus.com
                      5
                           Attorneys fbr Plaintift.
                      6    Bayvier.v Loan Servicing. LI-C

                      7

                      8                         SUPERIOR COTJRT OF TTIE STATE OF CALIFORNIA
                      I                                               COT]NTll OF SONOMA
                     IO

                     lt      BAYVII:1W LOAN SnRVICING. [.1.C,                            Case   No. SCV-266245
    I               t2                                                     I'laintitl-. VERIFIED COMPLAINT FOII:
    J         a
    d         a     l3                                                                      1.   DECLARATORY RELIEF;
    El
      > :9                                                                                  2. CANCELLATION    OF
    F ? iq          l4       DAVE STANLEY: BARRY W N4EYER.                                       INSTRUMENT; and
         <=/4-tj
      aiif,                  EXEC'LTTOR OF TI-IE ESTATE OF MELVIN                          3.    PARTITION OF REAL
                    l5       ROUSE;and DOES I through           -50   inclusive,                 PROPERTY& ACCOUNTING
    q 7..i1
      5;! 3         l6                                                 Defendants
      '1 ,1e
    F      u
           z        17
              o
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    U         u
    I
              J
              u
              F
                    18             Plaintif'f. Ba,"-view Loan Servicing. LLC ("PIaintifT') brings this civil action against
    -
                    19     Defendants Dave Stanle),. Barry W. N'lcyer. Executor ol'the Estate o{'Melvin Rouse. and DOES I

                    20     through 50 inclusive (collectiverlS.' "De{'endants"). Ibr declaratory reliel, cancellation o{'instrument

                    2l     as an encumhrance against real property n'hich Plaintil'f believes has been paid                 in full   hut

                    22     errtlneouslv nclt reconveyed" and partition of real property and accounting.

                    23                                                  INTRODUCTION

                    24              l.       'I'his action is an action rvithin the jurisdictional limits of this Court and this venue

                    25     is appropriate because the real propert.v" in controversy is rvithin this Court's jurisdiction.

                    26             2.        I'he real property on lvhich Plaintiff seeks relief is cotnmonly knorvn as 815 Butler

                    27     Avenue. Santa Rosa, CA95407 ("Subject Propert.v"). The legal description fbr the Sub.iect Propertl,'

                    28     is as fblloq,s:
                                                                                   -t-
                                                                             CO[,IPLAINT
    L'A- I 9-R7?442-DL'R
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                      I            BEINGA POITI'ION O}. LO'I- NO. I OF' PHILIPS SLJBDIVISION FILET)
                                   MARCH 22,1888, AND MORE PARI'ICULARLY DESCRIBED AS TOLLOWS:
                      2
                                   BEGINNING A1' THE INTERSECI'ION OI, S'I'ONY I'OIN'T ROAD AND
                      3            BLI'I'LER AVENUE. SAID POINI' BEING 'fHE, SOUTHEASTCOITNEIT OF'
                                   SAID LOT NO. I; THENCE FROM THE SAID POINT OF BEGINNING AND
                      4            ALONG TI{E CENTERLINE OF BIJTLER AVENI"IE WEST 179.19 FEET.
                                   T[{ENT]E NORTH OO I8'20'' EAST 30 FEET TO A Ii2'' IRON PIPE ON TITd
                      -5           NORTI{ERLY EDGE OF SAID BI.JTLER AVENLIE SAID POINT BEING TT{E
                                   TRUE POINT OF BEGINNING OF TI-IE PARCEL OF LAND TO BE, HEREIN
                      6            DIISCRIBED; TIIENCE WEST AND AT,ONG T[IENORTIIERN I,INE OF SAID
                                   BIITI,ER AVENIJE 386.68 FEET TO TIIE SOT]TI-IEAST CORNER OF TIIE
                      7            PARCIIL OF I.AND CONVEYED TO IRI. E. DI]NNISON AND RI]TI{ P.
                                   DITNNISON. t-IlS WIFE, DATIID SIIPTEIVIBER ll, 1961, AND RI]CORDED
                      8            SEPTE]VIBER 20, 196I, IN T,IBIIR I845 OF OFFICIAL RI]CORDS, PACE 417.
                                   RECORDI|R'S SII,R|AL N(). C-64138. SONOMA COUN'I'Y RECORDS'
                      I            THENCE NOR]'H O'35'WEST AND AI-ONC THTI I,ASTERN I,INI-., OF SAId
                                   DtiNNISI ON'S PARCtll. A DIS]'ANCL] OIr 411.21 F I-,F]'I': 'I'H[rNCI] NORI'H 89'
                    t0             17' 30" EAS]' AND AI,ONG THE CLIN'ILJR I,INE OF SAID I,O'T 1.404.38 FEIIT
                                   1"() 'I'HLi NOR'|HWI:ST CORNLTR OI" T'HIi PARC[:I. Ot LAND C:ClUU,,ttt,rD
                    ll             1"() JOSLTPH S. ANDRIIS AND ll{ll.DRL1D l.AVONNft ANDIIIIS. HIS WII-[].
                                   DAI'ED JLILY 7" 1960 ,,\ND RECORDED SEP'I'EMBER 23, 1960 ANt)
    J               t2             RECORDED SEPTEIyIBER 2-1, 1960, IN LIBEIT I 785 OI; OFFICIAL REClQ11p5.
    J        1
                                   I'}AGE 237, REC'ORDER'S SIIRIAL N0. G-247AA" SONOIv{A COUNI'Y
    a
    p
             @

                    l3             I{trCORDS;THENCE SOLII'H AND ALONG-fHE WESTEI{N LINE OI- SAII)
           iu{                     ANDRUS PARC]EL OF FOLLOWTNG CTOL]RSES AND DIS]ANC]ES SOUT'H O'
                    l4             24'30" EAST 192.81 FEET TO A l/2 INCI{ IRON PIPEr Tl'"lENClE NORTH 89'
    A)a "E
        -o
        :'t)
        o<                         41' 40" WEST 20.25 FEET TO A l/2 lNclll IRON PIPE; TI-IENCE SOLITI{ 0o l8'
           fo       t5             20" WEST 29.70 FEET TO A l/2 INCI{ IRON PIPE: TFIENCE NORTI{ 89o 4l'
    aa7. ,:9                       40" WEST I 4.87 FEET TO A I /2 INCI-I IRON PIPE; THENCIE SOUTIJ 0" l8' 20"
    >p' q6 =@
                    l6             WEST 57.56 FEET TO A l/2 INCI{ IRON PIPE; TIIENCIE SOIJTI:l 89o 4l'40"
    ?<                             EAST 14.87 FEET TO A l/2 INCII IRON PIPE: TI-IENCE SOUTII 0o l8'20"
             U
             o
                    l7             W[-]ST 130.57 FI]ET TO TIIE TRt.;E POINT OF BIIGI]I\lNCi.
             I
             e
    (.)
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             U
             F
                    18             3.      PlaintilT is the owner o{' l'ifty percent (50%) in the Subject Property rvhich is co-
    e
                    19     or.vned by Dave Stanley,'. herein named as def.endant.

                   20              4.      Defendant Dave Stanley' ("Stanley") is an individual believed to be residing in

                   21      Sonoma County, California rvho has a present          50o% ow.nership       interest in the Subject Propert-v.

                   22              5.      Def-endant Barry,' W. Meyer ("Me-ver")- executor of the Estate of l\4elvin Rouse is an

                   23      individual acting in his capacit,v as executor and has a security interest in the Subject                Propert-v* as

                   24      tlre beneficiary of a deed of trust.

                   25              6.      Plaintifl'does not knolv the true rlames, capacities, or bases of"liabilit-v of'Defbndants

                   26      sucd as DOES     I through 50 inclusive. Each lictitiously named de{'endant                is in some rva,v liable to

                   27      Irlaintiff'or claims sorne right. title,   i"rr interest   in the   Strb^iect Property'   that is subsequent to iitrd

                    28     suh.iect to the interest   of I'taintifl'or hoth. DOIIS are sued herein purstlant to California Code ol'
                                                                                      1

                                                                              CO}.TPLAINT
    Ir\- l9-.7]442-DL'R
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                            I   Civill'>roceduresection 4T4. ]'laintiff lvill amendthisClornplainttoret-lectthetruenamesof                        said

                        2       Def'endants r,r'hen the same have been asceftained.

                        _1                  7.      Plaintiff is infbrmetl. believes. and based thereon alleges that at all relevant times.

                        4       certain of the Del'cndants, irtch.rding DOII Del'errdants, ancl oach of them. rvere acting as the agents"

                        5       servants" employees, alter egos, successors or predecessors in interest" or contractors of'other ol'the

                        6       Def'endants. and u,'ere acting within the course and scope of such relationship, with the knor.vledge.

                        7       exprsss or implied. of eac,h such other namecl clel'endant.

                        8                                                 FACTTIAL BACKGROT]ND

                        9                   8.      Plaintiff re-alleges the allegations of Paragraphs l-7 above.

                      l0                    9.      Plaintiff is infcrrmed and believes and thereon alle-ees that on or about June I 7,2002.

                      il        Zachary Yates and Lindse3..' Yates. executed a Deed of 'l'rust secured by the Subject Propefty, and

    J            €    12        is in favor of Def'cndant Barry W il4eyer, Executor of the Estatc of N{elvin Rouse. Deceased.
    -]           Y
    d
    p            o    l3        Sotrorna Clounty Superior C-'ourt Probate Case No. 071493 ("2002 Deed                        of Trust"). The Senior
                 o
                 q
                 J
                      l4        Deed of Trust was recorded in thc Sonoma County Recorder's OffIce on June 19, 2002                                  as
           -7_   o
                 =
                 o
                 u              InstrumentNo. 2002094007. A truc atrd correct copl, o{'the Senior Deed ol'Trust is attacherl
                 o    l5                                                                                                                       herretcr
    q;     >9
                 o
                 t
    >p                l6        as     llxhihit L
             7
    ?<           u
                 z    t7                    10.     On or about June 23,2006, Bill Cliler:, a maried man as his sole and separate
                 o
                 e
                 u
    U
    (,)
                 J
                 0    18        propeflv, as to an undivided      509,6   interest and Dave Stanlel.'. a married man as his sole and separate
    FT           F
    e
                      l9 propelfi.            as to an undivided 50o/o interesl s6,quired their ou,nership interest in the Sub.ieot Property

                      20        b,""   a Grant Deed frorn Lindsay Yates.      A true and correct copy of the Grant Deed is attached hereto

                      2t        as     Exhibit 2.

                     22                     11.     On or about November 22,20A6- Bill F.                 C-'ileo transferred       the property via
                     23         Interspousal Transf'er Grant Deed to          Bill F. Cileo and Paula     N,l. Cileo. husband and w'if'e as      joint

                     24         tenants. A true and con'ect cop-v of the Grant Deed is attached hereto as Exhibit 3.

                     25                     12.     On or about Novemher 22.2006.        Bill F. Cileo    and Paula   lr,f   . Cileo, executed a Dec.d

                     26         o1'Trust in the amourrt r:l'$400,000.00 r,vliich ,'vas sccured     Lr-v   the Subject Proper'B". ("2006 Deed ol'

                     27         Trust"). A true and corect cop.l, ol'this Deed of I'rust is attached hereto           as     Exhibit 4.

                     28
                                                                                       -3-
                                                                                    CO${PLAIN't
    IA-   l.)-,!7?442-DCR
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                         I               13.        1'he 2006 Deed of 'Irust only encumbered a50yo interest in the propeft),as Dave

                         2   Stanlc.y    rn,'as   not a trustor.

                         3               14.        Through various Assignmcnt, Plaintiff became the benet'iciary of the 2006 Deed of

                         4   Trust.

                         5              15.         On June 4, 2018" a l'orcclosure sale ol'the Sub.ject Property vvas held rvherein the

                         6   propcrty revefted hac,k to Plaintill'via credit bid. A true and correct copy of the Con'ective Trustee's

                             Deed lJpon Sale transferring the Cileos' 509,tr interest iri the propert,v- to I'}laintifTis attached hereto

                         8   as L',xhibit 5.

                         9               16.        Plaintiff is ini'ormed. believes, and based thereon alleges that the 2006 Deed o1'Trusr

                       IO    rvas intended to be a first-priority. senior encumbrance on the Subject Propertv.

                       ll               17   .      Plaintiff is further informed and believes aud thereon alleges that the 1002 Deed of

    I                  t2    Trust should have been reconveyed                Lrut   through error or inadvertence, has not been rsconvey,ed and
    -]          Y
    d      a           l3    therefore appears in tlre chain of title as a present encumbrance on thc Subject Property.
    :l > :19
    F ? iq             l4               18.         PlaintifT is requesting the 2003 Deed of Trust be cancelled as an encrrmbrance
    iI -n;6
       <4Ao
         ,i! 3 <
         'bc 10        t5    against the Sub.iect Prtiperty.
    € 7a",i
         5;!    3      t6               19.         Plaintill'seeks partition o1'the entire f'ee simple intcrest in the Real Property.
    F <i-       u
                z      17               20.         1'here are no liens or encumbrances on the property, clther than the 2002 Deed of'
                o
                C
    U
    <J
                )
                U
                U      l8    'l"rust seeking to be cancelled. appearing oflrecord or otherwise knolvn to Plaintil'l'or apparent l'rom
                F
    z
                       l9    arr inspection        ol'the property.

                      2A                21.         Prior to the commenoernent of this action, it rvas necessarli for plaintiff to proc'ure               a


                      2t     title report in the form of a Litigation Ciuarantee for a reasonable expense. T'he title report is. and
                      .1.1
                             vvill be. kept available fbr inspection, cop1,'ing. and use b,v the parties                   b1'-   Plaintiff s counsel.

                      23                                                   FTRST CAUSE OF ACTION

                      24                                           (Declaratory.' Relief against all Defendants.)

                      25                22.         Plaintill're-allcges the, allegations ol'Paragraphs l-21 above.

                      26                23.         Plaintill'is in{bnned, [relieves, and based thcreon alleges that the 2002 Deed ol'Trust

                      27     is satisfied in      lull, but Me-ver failed ancl continues         1o    lail to record   a reconveyance     to tlie 2002 Deed

                      28     ol   J'ru st th ereb,,- i rnproperl   y e ncunt berin g tlie   S ub.f   ect Prc'rperty.
                                                                                             -4-
                                                                                         COMPLAINT
    I   A- | 9-87]442-DC'R
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                          I             24.       Plaintiff is informed. believes. and based thereon alleges that Meyer and DOE

                          2    Def'endants    rvill dispute these contentions and contend that the 2002 Deed of'Trust is not satisfied

                          _1   or contend the 2001 Deed of Trust should not be released as an sncumbrance against the Subiect

                          4    Property.

                          5             25.      Plaintiff'is informed.       be   lieves. and based thereon alleges that an actual controvers)'

                          ()   has arisen, and novv exists bctrveen PlaintifT and Del'endants, and each o1'them. concerning their

                          7    respeotive rights and duties in the Subject Property. and their respective encumbrances.

                          8             26.      Plaintiff desires a.iudicial cletennination of its rights and duties, and a cleclaration        as

                          9    tcl its security.' intelest   in the Subjecl Property.

                         l0             27. A judicial deolaration is necessary and appropriate at this time under the
                         ll    circumstances      in   order     for Plaintiff to confirm its rights and duties ulder the respective
                         t2    encunrbrances and so Det'endants. and each of them, can confinn their respective ri_ahts, obligations.

    a6              6'   l3    titles and interests in the Subject Propefi.
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                         l4             28.      PlaintitT seeks     a   judicial declaration that the 2002 Deed olTrust has been paid in full
    -ll:=*
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    *>'aao               l5    and is released as an encumbrance against the Subject Propertl,'.
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    >5;!1                l6                                               suJoNu c.qusE, on acrroN
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    t-,o                 t7                                  (Cancellation of Instrument against all Defendants)
    _\c
    ()
     (.)
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                    u    l8             29.      I'laintilT re-alleges tlie allegations o{'Paragraphs I -28 above.
    z
                         19             10.      tllainiil't   is infurnred. believes. and based thereon alleges that the 2002Deed of '[*rust

                         20    is void besauss the underly,'ing obligation has been paid in           full prior to or at the tirne that the Cileos

                         21    obtained the loan secured by the 2006 Deed of 'l'rust.

                         22             31.      As the obligation secured by 2002 Deed of Trust rvas paid in full. it should                   be

                         23    cancelled and be deemed reconveyed so                 it no longer holds any encumbrance against the Subiect

                         24    Propertl,.

                         25                                                   THIRD CAUSE OF ACTION

                         26                       (Partition of Real Property & Accounting against Stanley and DOES)

                         27             32.      Plairrtifl're-alleges the allegations ol'Paragraphs l-31 atrove.

                         28             33.      Plaintif'f requests that the Sub.iect Property be partitioned by' sale. Such mode ol'
                                                                                          -5-
                                                                                       CO}.IPLAINT
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                   1    paftition is more equitable in the circumstances thall partition bv ph-vsical divisicln fcrr the reason

                   2    that the Subject Propefi-v- contains a single-t'amil"v building which is not susceptible to ph1.'sical

                   -1
                        division.

                   4              34.     This action is brought and partition is sought hcrein, lbr the common benerfit o1'the

                   -5
                        parties. [o preserve and secure to each of'them their respective interest and rights in the propert].."

                   6    and Plaintil'l'has incurrcd. and rvill incur. costs ol'paftition herein. including reasonable attorney's

                   7    I'ees, I'or lhe comnron beneftt   of'tlie parties hereto, in an amorurt to be proven at trial.

                   I              35.     Since June 26, 2018. Stanley' ltas collec,tecl and received fronr the tenants in

                   9    possession of certain units in the Subject Property      allthe rents and pro{its from the realproperty.

                 r0              36.      I'lairitifThereb-v demands of Stanley that he account to Illaintiff for any and all sums

                 II     so received by lrim, and that Stanley pa,v to I'}laintitT its 50% share thereof. Stanley has thus far

                 t2     failed and refused to make such accounting or to pay to Plaintiff the sums due ro it and still fails
 -9
a6        6'     t3     and retr.rses to do so.
+ii.:!g
                 l4              WIIEREFORE. Plaintiff prarr's for judgnrent as fbllows:
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tlTaio           l5               l.      For an Orcler c'leclaring the 2Qtl2 Deed ol' Trust rccorded ilr the Sonoma         Count_v
€z::3
>F;iq            l6      Recordet's Office on "Iune 19,2002 as lnstrumentNumtrer 2002094007 be cancelled arid deemed
a1
r:u Se-
                 t7      recr:nveyed so it is no longer atr encumbrance against the Suh.iect      Propert_r.,;
11   Y
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 C)u
     u
                18               2.       For partition by sale ol'the Subject Ploperty according to the respective rights ol'the
e
                l9      pafties hereto:

                20               3.       For the expense reasonably inourred by Plaintiff iri obtainir-rg a title report of the real

                2t      properly in the fonn of a Litigation Guarantee, together u''ith interest at the rate of ten (10%) percent

                22      per annum from the date of filing of thc- complaint. and for their respective pro rata shares of other

                23      costs   of pa(ition, includin-e but not linrited to reasonablc attorney's f'ees, as deter-mined by the

                24      Court. rvhich judgment shall be secured by a lien on the respective interests of defendants. and each

                25      of them" in the Sub.ject Properly or procecds of sale ol'the Sub.iect Propert-v;

                26               4.       For an accounting from Stanle,," and payment ol Plaintilf s 50% share in the rents

                27      collected since June 26,2018;

                28               5.       F'or costs oI suit herein incurred;
                                                                           -6-
                                                                         CO} PLAINT
cA- 1r)-f{71442-D{lR
                       I          6.      For any other furtlrer relief as the court ma)' deem proper

                   2

                   3       Dated: I\,larch 26. 2020                           Respectfu   lly submitted.
                                                                              IVIcC            & HOLTHUS. LLP
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                   6                                                          Seth [ larris.
                                                                              Attorneys {br   intili;
                   7                                                          Bavvierv I-oan Servicing, LLC

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RE(f,EST Fon f Utl IE@}N'GYAXCC
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                                                             Erhabat   A
    Situaled in the Stale of Calibmia, Unincoporated Area, County of Sonoma. and described as foltows.

    Eeng a poriion of Lot No 1 of Fhillips Su0diuisron liled March 22. 1889 and more Fanrcutady descrrbed as fotrons-

    Beginning at the intersectiur of Stony Pcrint Road and Butler Avenue, sard pont being tre Sor.rtheast 6omer of sard Lot 1:
    l-?I!e f?Lnfte said point of beginning and along lhe centedine uf Buller Avenue West 17g"tg feetl therrce Nortr o. 18,
    ?0' East 30 feet to a h' iron fipe on tle Nonnedy eOge of said Butler Avenue sard pornt beirq the true point of Oeginnrng
    of tfte p_arcel of land to be herein deEcribed: thence west and along rhe Northem tine of seJ Buuer Avenue 3a6.b:a teet
    to the Soulheast corner of the parcel of lantt cooveyed lo lrl E Denniston and Rulh P. Denniston, his wife. Gted
    September lt. 1961 and recorded September A0, lg6t in Liber 1946 of Ofitcaat Records. page 41I, Recorder:s Seriar
    No- G&413E. Sonoma County Reoords; thence Nodh 0" 35' West and along fre Easlem line of sard gennrston's parcel
                                                                                                                              a
    dEtance af ttt.21 feet; thence Norltr 89o {?'30" East and along the iene|, lrne ol sard Lol 1, 404-3g leet to d[e
    Northwesl corner ol the parcel of land conveyed to Jollph S, Andrus and Mildred Lavanne Andrus. his wile.
                                                                                                                    ctated Juty
    7. 1960 and recorded $eptember 23, 1960 in Liber 1785 d Otrci8l Records, Page ?37. Recorder's Serial No GZ47O0
    Sonorna Gounty Records; thence Soth and alorg the Western line of sdd An-drus Parcel tire fdlo,rurng courses and
    drstsnceg' south 0' 24' 30" Eag t 9e.8t lbet to a % inolr iton ppq thence North gg" it t ' 40" west 20 25 teet to e % rnch
    iron papei thBnce sEuln 0" 18' 20'west ?9.70 feet to a kirwh iron prpe, rhence North 89o 4t' 40' west 14 g7 fea
                                                                                                                         w r y,
    rnch ron pipe, thence south 0'" 18 20' wesl 57 65 eet to a '1.2 lnch iron pipe; thenc€ south 8g" 41' 40" tbst       g7
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    to a % mch iron prpe: thence South 0" l8 20' West 130 57 eet to the true point of beginnrng

    {134{61-026-000}
EXHIBIT 2
a   Bratrch :CC I .[.lser :CEST                                                               TitleOfflcer:          Cornment:




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                  RECORDTNG REQUESTED BY                                                                                                         OFFICIEL RECORDS     r
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                  BlllClleo                                                                                   COUNTY TeX: 7aZ.4O
                  2295 Melbrook                                                                               PEID
                  Santa Rosa, CA 95405




                                                                                                                  AboE Ttb tlnc lbr RsGord€i'5 Usc Only


                   A.P.N.: 134-061-026{00                                                                                             File l,l,o,:

                                                                                   GRANT DEED
                  Ttp undeEigned Glanby(s) Dedar€(s):         DoqJMENTARY TMilSFER Tr0( $7S2,rO; GTY TRANFER            TAX   n/a
                   SURVEY MONUMENT FEE      9

                   I   X      ]   @mprrEd   m   the conslderaton or full value of propeity onveyed, OR    .




                   t          ]   computed on   tie   consideration or ful value hss valm of liens and/or encunbramG remainlng at tirlle of sale.

                   I   x      ]   unlnorporatEd   rea;    [ ]   Oty of   S.nt! Ror,   and


                   FOR A VALUABLE CONSIDERAION, receipt ot whlch ls hereby acknowledged,                                     Llndsay YaEo, a marrled
                   r roman a3 her 3ole and separate property

                   hereby GRANTS to         Bill Cileo, a married man as hls sole and separate property to an undlvlded 5oo/o
                   lntertst and Deve Stanley, a marrled man as hls sole and separate property, to an undlvlded                                                50o/o
                   lnterest
                  the followlng described property ln              the            V                  County of Sonoma, State of Gatlfomla:
                                               unlncorporated area of the
                        BEII{G A PORrIOil OF LOT NO. 1 OF PHI]IIPS SUBD!VT$O]{                                          FIT.ED MARCH         24      1889, AND
                        MOR.E PARTICUI.ARLY DESCRIBED AS FOLLOWS:

                        BEGI]ITIilG AT THE I]ITERSECrIOil OF STOilY POI]IT ROAD A]ID BUTIIR AVEI{UE, SAID
                       POINT BEING THE SOUTHEAST CORilER OF SAID LOT 1{O.      THEilCE FROM THE SAID POIT{T        li
                       OF BEGINNI]IG Al{D ALONG THE CENTERU]IE OF 8UTl.ER AVENUE WEST 179.19 FEET;
                       THEI{CE NORTH OO T8' 20" EAST 30 FEET TO A U2" IROil PIPE Oil THE NORTHERLY EDGE OF
                       SAID BUTLER AVETUE SAID FOIIiIT BEI]IIG THE TRUE POIiTT OF BEGIl{illNG OF THE PARGET
                       OF IAND TO BE HEREIN DESCRIBED; THEI{CE WEST AilD ALONG THE NORTHERN UTE OF
                       SAID U'ILER, AVEI{UE 386.6E FEETTO THE SOUTHEAST CORT{ER OF THE PARCEL OF LAND
                       CONTEYED TO IRL E. DENI{ISON AilD RUTH P. DENNISON, HIS WIFE, DATED SEPTEI.IBER
                       11, 1961, AltD RECORDED SEPTEMBER 20, 196t, rN LIBER 1,846 OF OFFICIAT RECORDS,
                       PAGE 41,,7, RECORDER'S SERHL NO. G-6413E, SONOMA COUI{TY REGORDS; THENCE NORTH
                       OC 35'WESTAT{D ALONG THE EASTERI{ IJNE OF SAID DENNISTOI{'S PARCEL A DISTANCE OF
                       411.21 FEET; THENCE NORTH 89o 47' 30" EAST AND ATONG THE CEilTER Ul{E OF SAID LOT
                       1,404.3E FEETTO THE NORTHWEST CORNER OF THE PAR.CEL OF I.AND CONVEYED TO
                       ,OSEP}I S. ANDRUS AT{D HILDRED I.AVONNE ANDR,US, HIS WIFE, DATED JULY 7, 1960 AND
                       RECORDED SEPTEI|BER 2t, 1960 AND RECORDED SEPTEMBER 23, 1960, IN LIBER 1785 OF
                       orEcIAL RECORDS, PAGEAIT, RECORDER',S SERHT NO. G-247OO, SONOiIA COUNTY
                       RECORDS; THENCE SOUTH AND ALONG THE WESTERN LINE OF SAID ANDRUS PARCEL OF
                       FotrowrilG couRsEs AND DrsTANces souTH oo 24' 30" EAST t92.Et FEET TO A U2 II{CH
                       IROI{ PIPE; THENCE NORTH 89o 41'40" WEST 20.25 FEET TO A 1/2 INCH IRON PIPE;
                       THENCE SOUTH Oo                  lt'
                                            20" WEST 29.70 FEET TO A U2INCH IRON PIPE; THEI{CE I{ORTH 89o
                       fl'40" WEST 14.E7 FEETTO A UZ II{CH IROI{ PIPE; THEI{CE SOUTH 0c 18' 20" WEST 57.56
                       FEET fO A U2 INCH IRON PIPE; THENCE SOUTH 89o 41' 40" EAST 14.87 FEET TO A U2
                       INCH IRON PIPE; THENCE SOUfi 0o 18' 20" WEST 130.57 FEET TO THE TRUE POlilT OF
                        BEGINNING.
                                                                               Mail Tax Statements   To: SAtilE   AS AIOYE




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              A.P$.: 134-O6!-025-000                            Grant Deed - continud

                                                                                                                    Date:   o5/3U2006




              STATE OF                                  )ss
              COUNTY OF

              On                                              before me,
              Notary
                                                                                                      peronally knovYn to me
              (or proved to me on the           satisfactory arldence) to be the penon(s) whose name(s) ls/are subscrlbed to
              the withln instrument                      to me that he/she/they o<ecuted tfie same in his/her/thelr authorlzed
              capacily(ies) and that by his/herltheir signature(s) on the instrument the person(s) or he entity upon behalf of
              whlch the person(s) acted, executed the lnstrument.

              WTTNESS my hand and ofriciatseal,

                                                                                  o                                          3
              Signature
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              My Commlsslon Expires:                                       This   ata   for ofrclal notarial seal

              Notary Narne:                                            Notary Phone:
              Notary Reglstratlon                                      County of Prirrclpal Place     of   Buslness:_




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EXHIBIT 3
3   Brarrch :CC I ^[ Ise r :CEST                                                     Titleoftlcer:     Comment:                                    Station ld:N89R




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                   RECORDING REQUESTED EY
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                   Blll F. ClEo and Paula M. Oleo
                                                                                            RECoRo!]S FEE: 13,00
                                                                                                                            3
                  .2295 Helbrook Way                                                        PAID
                   Santa Ro.sa, CA 95405


                                                                                                          Thb Ulr3 [b.   Rcrrd€t" U.. only


                   A.P.N.: 13#061-025


                                                   INTERSPOUSAL TRANSFER GRANT DEED
                                                                                  tr 1 et seq.)
                                          (&cluded from Reappralsal under Gllfomh Constitution Artide 13A
                                               F

                   The Undersigned Granb(s) declare(s): DOCT MENTARY TRANSFER TA( S-0-;                        Cfi       TUNSFER TI0( $-0-;
                   SIJRVEY   ilOMrl.lEl'IT FEE $
                   This onveyance is solely between spouss and is EXEMPT from the lmpciUon of the Documentary Transfer Tax
                   pursuant b Sectlon 11930 and/or UgU et seq. of $e Revenue and Taxation Code.

                   This is an Interspousal Tran#er and not a dEnge in ownership under Sectlon 53 of the Revenue and TaxaUon
                   Code, and transfer by Gnnto(s) is excluded from reappraisal as a creaUon, transfer, or termlnation, solely
                   between the spouses of any oowne/s lnteresL

                   FOR A VALUABLE CONSIDEMTION, receipt of whlch is hereby                     adnowledged, Bill Cileo, who acquired titla a3
                   a marriad man, a3 his sole and soparate prppelty
                   hereby GRANTS to Blll F. Glleo and Paula M. Glleo, husband and wife                    acJointtenants
                   the following descrlbed property ln       the   Clty of   Santa Rosa, County of Sonoma, State of @lifornia:

                                 Attadred hercto as Exhlblt A.
                   Dated:          ttt1.4t2006

                  'B/iLCiaeorV




                                                             MallTax Statements To: SAME AS ABOVE




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                  A.P.N.: 134{51-026                                                                                                     (DM)


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                                                                              be the person(s) whose name(s) ls/are subscribed to
                  the withln lnstrument and acknowledged to me that he/she/they exeoled the same ln hiyher/thelr authorlzed
                  capaclty(les) and that by his/her/their signature(s) on the instrument the person(s) or the entity upon behalf of
                  which the person(s) acted, executed the instrument.

                  WENESS my hand and officlalseal.
                                                                                                     D. MA.JCHEREK
                                                                                                       coMM, #15744a2                3
                  Slgnature                                                                                 PUELIC .CALIFORNIA
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                                                                                                   My Cornm. Erpr?.s   AprI29, 2@9




                  My @mmission Expires:                                          This   ata   forofficial notadal      sal
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                       DESCRIPTION

                       All that certaln land situated in the unlncorpordted area of the County of   soilOlrlA, State ol Callfomla,   and
                       det$ibed as follows:

                       BEII{G A FORTION OF LOr NO. I OF PHILLIPS SUBDMSTON FILED MARC}I                         2a 1t89,   AND lrlORE
                       PARICUI.ARLY DESCRIBED AS FOLLOWS:

                       BEGINIIII{G AT THE INTERSECTIO]I OF STONY POIiIT ROAD AND BUTTER AVENUE, SAID POtl{T
                       BEING THE SOUTHEAST CORNER OF SAID LOT 1{O. Ii THEilCE FRO}I THE SAID POINT OF
                       BEGIt{tllNG AND ALOI{G THE CENTERUITE OF BUTLER AVEI'|UE WEST 179.t9 FEET; THEilCE NORTH
                       OO IE' 20" EAST 30 FEET TO A I/2" IRON PIPE ON THE NORTHERLY EDGE OF SAID BUTLER AVENUE
                       SAID POINT 8EIilG THE TR.UE POINT OF BEGINIITI{G OF THE PARCET OF I.AND TO BE HEREIN
                       DESCRIBED; THENCE WEST Al{D AIONG THE NORTHERN LINE OF SAID BUTLER AVENUE 3E6.68
                       FEETTOTHE SOUTHEAIIT OORNER OFTHE PARCEL OF I.AI{D COilVEYED TO IRL E. DENNT'ON AND
                       RUTH P. DENilISON, llIS UTIFE, DATED SEPTEIIBER            lrr
                                                                             196L AND RECORDED SEPTEMBER 20,
                       196rr I1{ LIBER 1846 OF OFFICIAL RECORDS, PAGE 412 REOORDER'S SERIAL 1{O. c-64138,
                       SONOIIIA COUNTY RECORDS;THCilCE I{ORT}I OC 35,WESTAilD ALOI{G THE EASTERI{ IJI{E OF SAID
                       DCIINISTOI{'S PARCEL A DTSTANCE OF 411,21 FEET; T}|EI{CE t{ORrH 89o 47' 30" EAST AllD ALONG
                       THE CEilTER IJNE OF SAID LOT I,IO!I433 FEET TO THE TIORTHWEST CORTIER OF THE PARCEL OF
                       I.A]{D OONVEYED TO JOSEPH S. ANDRUS A]ID MIIDRED LAVOI{NE ANDRUS, HIS WIFE, DATED JULY
                       7, 1960 AND RECORDED SEPTEMBER 23, 1960 AilD RECORDED SEPTEMBER 23, 1960,           UBER            Iil
                       L785 OF OFFICIAL RECORDS, PAGE 297, RECoRDER'S SERIAT NO. G-24700, SONOIIIA COUNTY
                       RECOR,DS; THE]ICE SOUTH A]ID ALONG THE WESIER,N LINE OF SAID ANDRUS PARCEL OF
                       FOILOWTNG COURSES AltD DTSTAI|CES SOUTH Oo 24'30'EAST 192.81 FEETTO A 1/2 rNCH rRolt
                       PIPE; TIIENCE ilORrH Ego 41'{O- WeSr 20.25 FEETTO A U2 II|CH IROil PIPEi THETICE SOUTtl0o
                       18' 20" WEST 29.70 FEET TO A l/2 INCH IROil PIPE; THEIICE llORTll S9c 41'rO" WEST 14.87 FEET
                       TO A U2 INCH IROI{ PIPE; THENCE SOUTH Oo 18' 20" WEST 57,56 FEET TO A U2 tllCH IROI{ PIPE;
                       THENCE SOUTII Ege 41'40" EASI 14.87 FEETTO A U2I[{CH IROI{ PIPE; THEI{CE SOUTH 0o 18'20"
                       WEST 130.57 FEET TO THE TR.UE FOtl{T OF BEGIIII{IilG.


                       APN No:   134-061-{126-000




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    EXH!BIT 4
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                    TnlECIEARIi{G lNC. AITN: FI}{AL            DOCS   UNIf

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                    PAI.M       HAMR, FL     346E3
                    Prcparcd By:




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                                                                DEED OF TRUST


                   DEFINITIONS

                   Words used ln multlple secllons of lhls document are deflned below and olher words are deflned ln
                   Secliom 3, ll, 13, 18, 20 and 21. Cerlaln rules regardlng lhe usage of words used ln this documenl are
                   also provlded ln Sectlon 16.
                   (A) "Security IrsEuDcDt" means lhls docummt. whlch ls dated                           NOVETIBB 13, 2006
                   togelher wlth all Riders lo thls document.
                   @) "Borrowcr" ls
                   Ett     F.   CIIE   AND   PAU!    M. CILEO, HUSBAND AND WIFEAS JOlltlT TE{ANTS




                   Borrower's address ls 2295 MEEROOK WAY, SAiITA ROSA, CA 95405
                   Bortower is lhe lruslor under lhis Securily Inslrument.
                   (C) "Leodcr' ls
                   SCME MOFTGAGE BANKBS, INC.. A CAUFOFI.JIA CORPORATION

                   Lender ls a CORPORATION
                   organized and existlng under the laws         of cluronnn

                   CALIORNA-S|ngb Family.F.nnlc M$/F,€ddlc lt0c uNlFOill lNSTilfiB{T WITH MBS
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                    Lender's address ls
                    6285 GREB{ntCH ORIVE 1200, SAN O|EGO, CA 92122
                     @)'Trustoo"  is
                     STEWARI TffLE COIIIPANY   O,F   SAN   OrcO. A c.lllo.nla corporatlon
                    (E) "MERS" ls Mortgage Eleclronlc Reglstratlon Syslems, Inc. MERS ls a separale corporation that ls
                    acllng solely as a nomlnee for Lender and Lender's succelsors and asslgns. MBRS h the benrefrclary
                    uader this Secuuity tnstrunout, MERS ts organlzed and exlsllng under lhe laws of Delaware, and has an
                    address and lelephone of P.O. Box 2026, Fllnl, MI 48501-2026, lel. (EEE) 679-MERS.
                    (F) "Noto" means lhe promlssory nole signed by Borrower and daled,         M)VEr|BB 't3, 2008
                    The Nole stales lhal Borrower owes Lender
                    FOUR HUIORE THOUS NO ANO NOr100 X X X X X X X X X X X X X X X X X X X X X X X X X               X'
                                                                                                                            oo,,.r,
                     (U.S. 3 400,000.00                  ) plus inlerest. Borrower has promlsed to pay this debl in regular Perlodic
                    Payments and to pay the debt in full nol taler than otElrBB 01, 2036
                    (G) 'Propcty" means lhe property that ls described below under the heading "Transfer           of Rlghts ln the
                    Property."
                    ([I) 'L9q1'r  means lhe debl evldenced by lhe Note, plus lnterest, any pr€payment charges and lale charges
                    due under the Nole, and all surns due under thls Smurlty lnslrumenl, plus lnterest.
                    0) "RIDERS' means all rlders to thls Securlly Instrumenl thal are executed by Borower. The followlng
                    rlders are lo be e:acuted by Borrower lcheck box as appllcablel:
                    [E                 Rlder E
                          Adjustable Rate                        Condomlnlum      Rtder                [El t-l Famlty Rtder
                    E                    Rlder E
                          Graduated Paymenl                     Planned Unlt Development       Rlder   E Blweekly Payment Rlder
                    E     Balloon Rlder        [-l               Rate tmprovement          Rtder       l-] Second Home Rlder
                    l-l   Other(s) lspecifyl



                    (I) 'Applicrblo Law' mems all controllhg applicable federal, sute ard local statules, regulations,
                    ondhances and admlnistrative rules and orders (that have lhe effect of law) as well as all applicable llnal,
                    non-appealable judlcial opinlons.
                    (K) 'Comuaity Argociado Duoc, Feo, aod Assosucntr' means all dues. [ees, assessmenls, and other
                    charges tha are lmposed on Borower or the Properly by a condomlnlum assoclallon, homeowners
                    association or similar organization,
                    (L) 'Eloctroic Fuods Trrncfc"       means any transfer of funds, other lhan a transacdon originaled by
                    check, draft, or similar paper instrumenl, whlch is inillaled through an elecronic terminal, telephonlc
                    lnslrumenl, computer. or magnedc tape so as lo order, lnstruct, or authorize a flnancial institution to deblt
                    or credil an accounl, Such term includes, but is not llmlted to, polnt-of-sale transfers, automated teller
                    machine lransactlons. lransfers inillated by telephone, wire lransfers, and aulomated clearlnghouse
                    lransfers.
                        nBscow lt@s" means lhose items that are described ln Sectlon 3.
                    M)
                    (N) 'Miscollucous Procoodr" means any compensatlon, settlement, award of &nnges, or proceeds pald
                    by any thlrd party (other than lnsurance proceeds pald under lhe coverages descrlbed ln Seclion 5) for: (l)
                    damage to, or deslnrctlon of, the Property; (ll) condemnatlon or olher taking of all or any part of lhe
                    Property; (lil) convepnce ln lleu of condemnallon; or (lv) mlsrepres€nhllons of, or omlsslons as to, the
                    ralue and/or condltion of the Property.
                    (O) 'Mctglgc Innuaaco' means insurance prolecllng Lender against the nonpayment of, or default on.
                    the Loan,
                    @)
                       iPriodic Pa;meot" means the regularly scheduled amount due for (l) prlncipal and interest under lhe
                    Note, plus (ll) any amounts under Section 3 of this Secudty lnstrument.



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                    (Q) 'RBSPA" mmns lhe Real Estate Setllemenl Procedures Act (12 U.S.C. Section 260I et seq,) and its
                    lmplementlng regulatlon. Regulatlon X (24 C.F.R, Part 3500), as lhey might be amcndcd from tlme to
                    llme, or any addlllonat or succcssor leglslation or regulallon lhat governs the same subjecl maller. As used
                    ln thls Securlty lnstrument, "RESPA" refers lo all requirements and restrictions lhal are lmposed ln regnrd
                    to a "federally related mortgage loan" even lf the Loan does not qualify as a "federally relaled morlgage
                    loan" under RESPA.
                    @) 'Succersor in Intcrest of Borrower" means any party thal has laken lille lo lhe Property, whelher or
                    not lhat party has assumed Borrower's obligatlons under the Nole and/or this Securlty Instrumenl.

                    TRANSFER OF RIGHTS IN THE PROPERTY
                                  of thls Securlty Instrument is MERS (solely as nomlnee for Lender and Lender's
                    The benellclary
                    successos and asslgns) and the successors and asslgns of MERS. This Securily Inslrument
                    secures   lo Lender: (l) the        repayment   of the Loan, and all         renewals, exlenslons and modlllcatlons
                    of the Note: and (ii) the performance of      Bonower's covenanls and agreements under thls
                    Securily Instrument and the Note. For thls purpose, Borrower lrrrvocably grants and conveys to
                    Trustee, ln rust, wllh power of sale, the following descrlbed proFrly located ln the
                                               @UNTY                          Of                              SONOMA                                :
                                                 Jurlsdlctlonl
                                   lType of Recordlng                                             [Name of Recordlng Jutlsdlctlonl


                    SE   @MPLETE      LEAL DEtrEPTION       DESCRBED IN E(HIBIT         'A"   ATTACHED HERETO AND MADE A PAFT HEREF.




                    Prrcel lD Number:       ,3.t{oi{ze{oo                                                whlch currently has the addres of
                                                                6t5   BUTLBAVB.IUE                                                       [Streetl
                                                SANrA    RosA                [Clry] , California 95.07                                [Ztp Codel
                    ("Pmperty Address'):

                          TOGETHER WTIH all lhe lmprovements now or herealler erected on the property. and all
                    easemenb, appurtenances, and flxlures now or hereafter a parl of the property, All replacemens and
                    addltlons shall also be covered by thts Securlty Instrument. All of the foregolng ls rcferred to ln thls
                    Sccurlty Inslrument as the "Propeity." Borrowei understands and agrees that MERS holds only legal title
                    to the interesls granted by Borrower in thls Seclrily lnslrument, but, lf necessary to comply wlth law or
                    custom, MERS (as nominee for Lender and l-ender's successors and assigns) has the rlght: to exercise any
                    or all of lhose interests, includlng, but not limlled to. the rlght ao foreclose and sell the Propertyl and tb
                    take any acllon required of Lender lncluding, bul not limiled lo, releaslng and canceling lhis Security
                    Inslrument.
                          BORROWER COVENANTS lhat Borrower ls lawfully seised of lhe estate hereby conveyed and has
                    the righl lo granl and convey lhe Property and lhal the Property is unencumbered, excepl for entumbrances



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                    of record. Borrower warmnls and wlll defend generally the tille lo the Prcperty against all claims               and
                    demands, subJect lo any encumbrances of     recordl
                          THIS SECURITY INSTRUMENT comblnes unlform covenanls for national use and non-uniform
                    covenanls wllh limlted varlallons by Jurlsdlcuon lo conslllule a unlform security lnstrumenl covering real
                    properly.
                          UNIFORM COVENANTS. Borrower and Lender covenanl and asree as follows:
                          l. Pa)@€ot of Priocipal htoroet, Escrow Items, Prepo,o-€trt Cberges, and Lote Charges.
                    Borrower shall pay when due the prlnclpal of, and lnterest on, the debt evidenced by lhe Nole and any
                    DreDavmenl chaisds and lale charsds due'undei lhe Nole. Borrower shall also oav funds for Escrow llemi
                    buriuint to Secti'on 3. Pavments?ue under lhe Nole and thls Securltv lnstrurheht shall be made in U.S.
                    burrencv. However. ifanicheck or olher lrstrument recelved bv Lend6r as Davmenl under the Nole or thls
                    SecurltJ Inslrumenl is reiirrned to Lender unoald. Lender rnav ieoulre that ini or atl subseouent Daymenls
                    due un'der the Note and this Securlty lnstrirment be made'in ohe or more-of the follor,ilnE for-nrs, as
                    selected by Lender: (a) cash: O) mbney order; (c) certlffed check, bank check, treasurets check or
                    cashier's c-heck, pmvlded any such check is drawn upon an lnslllutlon whose deDosls are lnsured by a
                    federal agency, listrumentalttly, or enllty; or (d) Electr6nlc Funds Transfer.
                          Payments are deemed received bv Lender when recelved al the locatlon deslgnated ln the Note or al
                    such otlier locatlon as mav be desisnat-ed bv Lender ln accordance with the notice o-rovlslons ln Sectlon 15.
                    Lender may relurn anv o-avment rii oartlaloavment if the Davmenl or Darllal oavhents are lnsufficlent to
                    brlns the tioan curreni. Ldnder mav'acceol'aiv oavment oi o'artlal oavinent lniulficlent to brlns the Loan
                    currEnt, without waiverofanv rleh"ts herriundrir br-oreiudlce'to is rishts to refuse such oavmenior Dartlal
                    Davmenls tn lhe future. bu LLndEr b not obllpated'lo'aoolv such oaiments at the time iuih navmerits arc
                    ic6epted. lf each Perlbilc Payment ls applieil as of lG'stheduleil "due date, then Lender rie6d nol Day
                    lnterest on unapplled funds, Ldnder mav lirild such unaoolled funds untll Bonower makes oayment to brini
                    the Loan currehi. If Borrower does not'do so wlthln a'ri.asonable oerlod of time. Lender ihdll elther aooli
                    such funds or return them to Borrower. Ifnot roolled earller. sucti funds wlll be aoolled lo the outstanilini
                    orlncloal balance under the Note tmmedlalelv'ririor lo foreclosure. No offsel oi'claim which Borrowe"r
                    inieht'have now or ln the future asalnsl Lenileishall relleve Borrower from makinp Davmenls due under
                    the-Note and thls Secudty Insrume-nl or performlng lhe covenanls and agreements se"criret by lhls Sectrlty
                    Inslrumenl.
                          2. Applicatioa of Palmcnts on Procoeds, Excepl as              olherwlse descrlbed   in this   Sectlon   2, all
                    Davmenls aCceoted and aoolled bv Lender shall be aoolfed ln the followlns order of orlorllv: (a) lnlerest
                    iluL under the trlote; (b) 'phnchal due under the Noie'; (c) amounts due uider Sec{b;r 3. $uch iayments
                    shall be applled to each Perlodlc Pavment ln the order ln whtch lt became due. Anv remalnlne ainounts
                    slall be afitted nrsr to lale-charges,'gecond lo any other amounts due under thls Sectdty Instru'menl, and
                    then to reitce the prlnclpal balanie ofthe Note,      '
                          If Lender recelves a Davmenl from Borrower for a delinquent Perlodlc Paunenl whlch inctudes a
                    sulliclent amount lo oav arivlale charpe due. the oavment mavle aoolled lo the-delinouent oavmenl and
                    lhe late charse. If moieihan- one Pedoitc Pavment'ls'oulstandlis. Leh'der mav aoolv anJ oavnirefit recelved
                    from Borrow-er to the repavment of the Peri6dic Pavmenls tf. afit to the extdnt ifial. eic6 davment can bC
                    oaid in full. To the exteirt ihal anv excess exists aft6r lhe navment is.anolied to the full narimlnt of one or
                    inore Periodic Payments, such exiess may be applied to adylarc chargii due, Voluntary'pftpalments shatl
                    be applied finl lo-any prepayment charge-s and ifien as desc-ribed ln thE Note.
                          Any applicalion of pavmenls, insurance proceeds, or Miscellaneous Pmceeds lo DrinciDal due under
                    the Note shafl not exlendbfposlpone the due date, or change thc amounl, ofthe Periodfc fayinenb.
                          3. Funds for Escrow ltms, Borrower shall oav to Lender on lhe dav Perlodlc Pavmenls are due
                    under fie Note, until the Note ls pald in full, a sum'(the "Funds") to providri for payment'of amounts due
                    for: (a) laxes and assessmenls and olher items which'can attain piioriiy over lhis S*urity Instrument as a
                    lien or encumbralce on lhe Prooertv: lb) leasehold Daymenls of srcuid renls on the Pro'oertv. if anv: (c)
                    premiums for any and all insuhnie rLquired bv Lerider undertection 5; and (d) tr,toheJse Insuiani6
                    bremlums. if ani. or any sums oavabld bv Bo'rrower to Lender in lieu of the iavmeni       -are 6f MortEase
                    lnsurance oremirims in a-ccordanc'e iviUr rh6 orovisions of Section 10, These itenis            called "Esc-rd'w
                    Items," At'orisinalion or at anv time durins ihe lerm of lhe Loan. Lender mav reouire that Communilv
                    Associalion Dfes, Fees and A-sessments, If any, be escrowed by Borrower,"and'such dues, fees ant
                    assessmenls shall be an Escrow llem. Borrower shall promptly furnish to Lender all nollces of amounls lo
                    be Dald under thls Sectlon. Borrower shall oay Lenddr the'F[rnds for Escrow ltems unless Lender walves
                    Boirower's oblleallon to pay the Funds for'anv or al! Escrow Items. Lender mav walve Borrower's
                    obllgatlon to pay-to Lendei Funds for any or all Escrow Ilems at any tlme. Any such'walver may only be



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                     ln wrlaing. ln lhe event of such walver, Borrower shall pay dlrectly, when and where payable, lhe amounls
                     due for any Escrow ltems for whlch payment of Funds has been walved by Lender and, lf Lender requlres,
                     shall furnlsh to Lender recelpts evidenclng such paymenl wlthln such tlme period as Lender may requlre.
                     Borrower's obllgallon to make such paymenls and lo provlde recelpts shall for all purposes be deemed to
                     be a covenanl and agreemenl contained ln thls Securl$r Inslrumenl, a$ lhe phrase "covenanl and agreement"
                     ls used in Sectlon 9. lf Borrower ls obllgaled lo pay Escrow ltems dlrectly. pursuanl lo a walver, and
                     Borrower falls to pay lhe amount due for an Escrow ltem, Lender may exerclse lts rlghs under Sectlon 9
                     and pay such amounl and Borrower shall lhen be obligated under Section 9 lo repay lo Lender ary such
                     amounl, Lender may revoke lhe waiver as to arry or all Escrow llems al any llme by a notlce $ven ln
                     accordance wilh Sectlon 15 and, upon such revocatlon, Bonower shall pay lo Lender all Funds, and in
                     such amounts, lhal ar€ lhen requlred under lhis Sectlon 3,
                           Lender may, at any tlme, collect and hold Funds ln an amount (a) sulllclent to permll Lender lo apply
                     lhe Funds al lhe time spedfled under RESPA, and (b) not to exceed the maximum amount a lender can
                     require under RESPA. Lender shall estimale the amounl of Funds due on lhe basls of current dala and
                     reasonable estlmales of expendilures of fulure Escrow Items or otherwlse ln accordance wlth Appllcable
                     Law.
                            The Funds shall be held     in an lnslllullon     whosc deposlts are tnsured by     a   federal agency,
                     lnslrumentallty, or enllly (lncludlng l-ender, if Lender Is an Inslltutlon whose deposlts are so tnsured) or ln
                     any Federal Home Loan Bank. Lender shall apply lhe Funds lo pay the Escrow ltems no later than lhe tlme
                     speclfled under RESPA. Lender shall nol charge Borower for holdlng and appllng the Funds, annually
                     analyzlng lhe escrow accounl, or verlfylng the Escrow llems, unless Lender pays Borrower lnterest on the
                     Funds and Appllcable kw permlls Lender to make such a charge. Unless an agreemenl ls made ln wrlilng
                     or Appllcable Law requlres interesl to be pald on the Funds, Lender shall not be requlred lo pay Borower
                     any lnleresl or eamlngs on the Funds. Borrower and Lender can agree in wriling, however, thal lnlerest
                     shall be pald on lhe Funds. l,ender shall give lo Bonowc, wlthout charge, an annual accounllng of the
                     Furds as required by RESPA.
                           If there is a surplus of Funds held ln escrow, as deflned under RESPA, Lender shall account to
                     Borrower for the excos firnds in accordance with RESPA. If lhere is a shorlage of Funds held in escrow,
                     as dellned under RESPA, Lender shall nolify Borrower as required by RESPA, and Bonower shall pay to
                     Lender lhe amounl necess8ry to make up lhe shortage ln accordance wllh RESPA, bul ln no more than
                     twelve monthly paymenh. lf there ls a deficiency of Funds held in escrow, as deflned under RESPA,
                     Lender shall notlfy Borrower as requlred by RESPA, and Borrower shall pay to Lender the amount
                     necessary lo make up the deflciency in accordance with RESPA, but in no more than twelve monthly
                     palrmenls.
                           Upon payment in full of all surns secured by lhis Securlly Inslrumenl. Lender shall promptly refund
                     lo Borrower any Funds held by Lender.
                           4. ChargGs; Liear. Borower shall pay all taxes, assessments, charges. Ilnes, and impositions
                     allribulable to the Properly which can altaln priorlty over lhls Security Inslrumenl, leasehold payments or
                     ground renls on lhe Prcperly, lf any, and Communlly Assoclallon Dues, Fees, and Assessments, lf any. To
                     the exlenl lhal lhese llems are Escrow llems, Borrower shall pay lhem ln lhe manner provlded ln Secllon 3.
                           Borrower shall prompily dlscharge any lien whlch has prtorlty over thls Securtly Inslrumenl unless
                     Borrower: (a) agrees ln wrltlng lo lhe paymenl of lhe obllgalion secured by lhe llen ln a manner acceplable
                     lo [rnder, but only so long as Borrower ls performlng such agreemenl; (b) contests lhe lien in good fallh
                     by, or defends agalnst enfortement of the llen ln, legal proceedlngs whlch ln Lender's oplnlon operale lo
                     prevent lhe enforcement of lhe lien while those proceedings arc pendlng. but only until such proceedings
                     are concluded; or (c) secures from the holder of lhe lien an agreemenl sallsfactory lo Lender subordinaling
                     lhe lien to this Securily Inslrument. If Lender determines thal any parl of the Property is subJecl lo a lien
                     which can ataln priority over lhis Security lnslrument, Lender may give Borrower a nolice tdentifying the


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                     lien. Wthln l0 days of lhe date on whlch lhat notlce ls glven, Borrower shall satls$ the llen or take one or
                     more of the actions set forth above in thls Section 4.
                           Lender may require Borrower to pay a one-lime charge for a real estale tax verification and/or
                     reporting service ued by Lender in connection with this Loan.
                           5. Property Insuraooo. Borrower shall keep the improvements now existing or hereafter er€cted on
                     the Proprty lnsured againsl loss by fire, hazards included wlthin the lerm "extended coverage," and any
                     other hazards including, but nol limited to, earthquakes and floods, for which Lender requires insurance.
                     This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
                     Lender requlrts. Whal Lender requlres pursuanl to the precedlng senlences can change during the term of
                     lhe Loan. The insurance carrler provldlng lhe lnsurance shall be chosen by Borrower subJect to Lender's
                     rlghl to dlsapprove Borower's cholce, whlch rlght shall not be exerclsed unreasonably. Lender may
                     roqulre Borrower ao pay, ln connectlon wlth thls Loan, elther; (a) a one-tlme charge for flood zone
                     determlnallon, cerllflcallon and tracking servlces; or O) a one-llme charge for flod zbne determlnallon
                     and certlflcatlon servlces and subsequenl charges each tlme remapplngs or slmllar changes occur whlch
                     reasonably mlght affect such delermlnatlon or certlflcallon, Borower shall also be responslble for the
                     payment of any fees lmposed by the Federal Emergency Managemenl Agency ln connectlon wlth fie
                     revlew of any flood zone delermlnation resulllng from an obJectlon by Borrower.
                           If Bonower falls to malnlaln any of lhe coverages descrlbed.above, Lender may obtaln tnsurance
                     coverage, al Lender's opllon and Borrower's expcnse. Lender ls under no obligatlon to purchase any
                     Parllcular type or amounl of coverage. Therefore. such coverage shall cover Lender, but mlght or mlght
                     not prolecl Bonower, Bonower's equlty ln the Property, or the conlenls of the Property, agalnsl any rlsk,
                     hazard or llablllty and mlght provlde gnater or lesser coverage lhan was prevlously ln effect. Borrower
                    acknowledges lhal the cosl of the lnsurance coverage so obtalned mlght slgnlffcan0y exceed lhe cost of
                     insurance that Borrower could have obtalned. Any amounls dlsbursed by Lender under thls Secdon 5 shall
                    become addllional debl of Bonower secured by thls Securlg Instrumenl. These amounls shall bear lnteresl
                    al the Nole rale from lhe dale of dlsbursement and shall be payable, wlth such lnterest, upon notlce from
                    Lender lo Borrower requestlng payment.
                           All lnsurance pollcies requlred by l,ender and renewals of srch pollcles shall be subject to Lcnder's
                    rlght to dlsapprove such policies, shall lnclude a standard moflgage clause, and shall name Lender as
                    morlSagee and/or as an additional loss payee and Borrower further agrees to generally assign rights to
                    lnsurance proceeds to the holder ofthe Note up to lhe amount ofthe outstanding loan balance. I-endershall
                    have lhe rlght to hold the policies and renewal certiflcates. lf Lender rcqulres. Borrower shall promptly
                    glve lo Lender all recelpls of pald premiums and renewal notlces.         lf  Borrower obtalns any form of
                    lns-urance coverage, nol otherwlse requlred by Lender, for damage to, or destructlon of. the Property, such
                    policy shall lnclude a standard mortgage clause and shall name Linder as mortgagee and/or as an addlttonal
                    loss payee and Borrower further agreei to generatly asslgn rlghts to lnsurance proceeds to the holder of the
                    Note up to the amount of the oulslandlng loan balance,
                           In the event of loss, Borrower shall give prompt notlce to the insunnce carrier and l-ender. lrnder
                    may make proof of loss lf not made promptly by Borrower. Unless Lender and Borrower othenrrlse agree
                    in writing, any lnstrance proceeds, whether or not the undolying lnsurance was requlred by Lender, shall
                    be applied lo restorallon or repair of the Properly, lf the restoration or repalr ls economically feasible and
                    Lender's securlty is not lessened. During such repair and restoralion period, Lender shall have the right lo
                    hold such insurance proceeds until Lender has had an opportunity to inspect such Pmprty to ensuie the
                    work has been compleled to Lender's satisfaction, provided that such inspection slatl-be underlaken
                    PPmptly. Lender may disburse proceeds for the repalrs and restoration in a single payment or in a series
                    of progress paymenls as the work is completed, Unless an agreemenl is made in writing or Applicable Law
                    requires inlemst to be paid on such insrance proceeds, Lender shall not be required to pay Borrower any
                    inlere$ or earnings on such proceeds. Fees for public adJrsters,'or other third partes, retained by
                    Borrower shall nol be pald out of the insurance proceeds and shall be the sole obligatlon of Borrower. If
                    lhe re$loratlon or repair ls not economically feasible or Lender's security would be lessened, the insurance
                    pmceeds shall be applied lo Oe sums secured by this Security Instrument, whether or not then due, wlth




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                     the excess,   If any, paid to Borrower, Such lnsurance proceeds shall be applled ln the order provlded for in
                     Sectlon 2.
                            If Bortower abandors the Property, Lender may flle, negotlate and sellle any available insurance
                      clalm and related matters. If Borrower does not respond wlthln 30 days lo a nollce frorn Lender lhal the
                      insurance carrler has offered to setlle a clalm, lhen Lender may negoliale and sellle the claim. The 30-day
                      perlod will begin when the nolice ls given. In ellher event, or if Lender acquires the Properly under
                      Section 22 or otherwlse, Borrower hereby assigns to Lender (a) Borrower's righls to any lnsurance
                      prcceeds ln an amount not lo exceed the amounts unpald under the Note or thls Securlty lnstnrment, and
                      (b) any other of Borrower's rlghls (other lhan the rlghl lo any rrfund of unearned premlums pald by
                      Borrower) rnder all lnsurance pollcles covering lhe Property, lnsofar as such rlghts are appllcable to lhe
                      coverage ofthe Property, Lender may llse lhe insurance proceeds etlher to repair or reslore the Properly or
                      lo pay amounts unpald under the Note or thls Securlly Instrument, whelher or nol lhen due.
                            6. Occupaocy, Borrower shall occupy, establish, and use the Property as Borrower's prlnclpal
                      residence withln 60 days after lhe executlon of thts Security Instrunent and shall contlnue to occupy the
                      Properly as Borrower's prtnclpal resldence for at least one year afler lhe dale of occupancy, unles Lender
                      otherwise agrees ln wrltlng, whlch consenl shall not be unreasonably withheld, or unless exlenualing
                      circumslances exisl which are beyond Borrower's conlrol.
                            7, Prossrvation, Mahteaanco aod Protsction of the Propety; Ltrcpostiotrt, Borrower shall not
                      destroy, damage or impair the Properfy, allow the Property lo delertorate or commil wasle on lhe
                      Properly. Whether or nol Borrower is residing in lhe Property, Borrower shall mainlain the Pmperly in
                      order lo prevenl the Property from deleriorallng or decreasing ln value due lo lb condillon. Unles ll is
                      determined Pursuanl lo Seclion 5 lhal repair or resloralion is nol economically feasible, Borrower shall
                      promptly rePalr the Properly     lf damaged lo avold firrther deteriorallon or damage.          If
                                                                                                                     lnsurance or
                      condemnation proce€ds are pald in conneclion with damage to, or the bking of, the Property, Borrower
                     shall be respomlble for repairing or reslorlng lhe Properly only if Lender has released proceeds for such
                      PurPoses. Lender may dlsburse proceeds for lhe repairs and reslorallon in a single payment or in a series of
                     Progress payments as lhe work ls completed. If the lnsurance or condemnation proceeds are nol sufficlenl
                     to repalr ot restore the Property, Borrower ls not relleved of Borrower's obllgatlon for the completion of
                     such repalr ot reslomllon.
                           Lender or its agent may make reasonable entries upon and lnspecttons of the Properly. If it has
                     reasonable caqse, Lender may inspecl lhe lnterior of the lmprovements on lhe Property. Lender shall give
                     Borrower nolice at the time of or prior lo such an inlerlor inspecllon specirying such reasonable cause.
                          t.   Borrowor'g Loan Appllcatlon. Borrower shall be in default if, during the Loan application
                     Process, Bonower or any persons or enttlies actlng at the direction of Borrower or wilh Borrower's
                     knowledge ot consenl gave malerlally false, misleading, or lnaccurate lnformalion or slalements to Lender
                     (or failed to provide Lender with malerial information) in cdnnecllon with the Loan. Material
                     representalions include, but are nol llmlted to, represenlatlons concerning Borrower's occupancy of lhe
                     Property as Borrower's principal residence.
                           9. hotection of Lend€r's Interest in tbe Property and Rightt Under tbio Security Ingtrumcot. If
                     (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument,
                                                                                                                          O) there
                     is a legal proceeding thal mlght signlflcantly affecl Lender's lnterest ln the Property and/or rlghts under
                     thls Securlly Inslrumenl (such as a proceeding in bankruptcy, probale, for condemnation or forfeiture, for
                     enforcement of a lien which may altain priority over lhls Securtly Instrumenl or to enforce laws or
                     regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whalever is
                     reronable or approprlale to prolecl Lender's lnleresl tn the Property and rlghts under this Security
                     lnstrument, lncluding prolectlng and/or assesslng lhe value of lhe Property, and securlng and/or repalrlng
                     lhe Propert5r. Lender's acllons can include, but are nol limlled to: (a) paying any sums secured by a llen
                     whlch has Prlorlty over thls Securlly Instrument; (b) appearing in court; and (c) paylng reasonabte


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                    atlorneys' fees to prolecl lts lnteresl in the Property andy'or rlghts under lhls Security Inslrumenl, lndudlng
                    Its secured posllion ln a banknrptcy proccedlng. Securlng the Propert5r lnctudes, but ls nol llmlled to,
                    enterlng the Property to make repairs, change locks, replace or board up doors and wlndoua, draln uater
                    from plpes, etlmlnate bulldlng or oth€r codi vlolatlons or dangerous condltlons, and have ualtilies turned
                    on or ofr. Allhough [*nder may lake acllon under thls Sectlon 9, Lender does nol have to do so and ls not
                    under any duty or obllgation to do so. It is agreed that l*nder lncurs no llabltlty for not taklng any or all
                    acltons aulhorlzed under thls Secdon 9.
                          Any amounts dlsbursed by Lender under thls Secllon 9 shall become addltlonal debl of Borrower
                    secured by thls Securt$r Inslrument. These arnounls shall bear lnterpst al the Note rate from lhe date of
                    dlsbursement and shall be payable, wlth such interest, upon notlce from Lender to Borrower requesting
                    Davmenl.
                    ' ' If thls Securlty  tnstrument ls on a teasehotd, Borrower shall comply wlth all the provlslons of lhe
                    lease,   If
                              Borrower acquires fee litle to lhe Properg, the leasehold and the fee tl0e shall not merge unless
                    Lender agrees to lhe merger ln wrltlng.
                          10. Mortgago lururauco. If Lender requlred Mortgage lmurance as a condltlon of maklng the Loan,
                    Borrower shall pay the premlums requlred to malntaln the Mortgage Insurance ln effect. If, for any reason,
                    the Mortgage Ircurance @verage reguired by Lender ceases lo be avallable from the mortgage lnsurer that
                    prevlously provided such insurance and Borrower was required to make separately deslgnaled paymenls
                    loward the premlums for Morlgage Insurance, Borrower shall pay lhe premlums requlred lo obtaln
                    coverage subslanllally equtvalenl lo the Mortgage Insurance prevlously ln elfect, al a cosl srbstanllally
                    equlvalent lo lhe cosl lo Borrower of the Mongage Insurance prevlously ln effect. from an atlernale
                    morlgag€ lnsurer selecled by Lender.      lf substantlally equlvalenl Mortgage lnsurance coverage ls nol
                    avallable, Borrower shall contlnue to pry lo Lender lhe amount of the separalely deslgnaled paymenls thal
                    were due when lhe lnsurance coverage ceased to be ln effecl. hnder wlll accept, use and relaln lhese
                    paymenrs as a non-refundable loss reserye ln lleu of Mortgage Insurance. Such loss reserve shall be
                    non-refundable, nolwllhstandlng the fad thal the Loan is ultimately pald ln full, and Lender shall nol be
                    requlred lo pay Borrower any lnlerest or earnlngs on such loss reserve, Lender can no longer requlre loss
                    reserve paymenls lf Mortgage lnsurance coverage (ln the amount and for the pertod lhal Lender requlres)
                    provlded by an lnurer selecled by Lender agaln becomes avatlable, ls obtalned. and Lender requlres
                    separately deslgnated payments loward the premlums for Mortgage ldsrrance. If Lender requlred Moilgage
                    lnsurance as a condillon of making the Loan and Bormwer was requlred to make separalely deslgnaled
                    paymenb toward the premlums for Mortgage lnsurance, Borrower shatl pay lhe prcmlums requlred to
                    mdntaln Mortgage Insurance ln effecl, or lo provide a non-refundable loss reserve, unlll l.ender's
                    requlremenl for Morlgage Insurance ends in accordance with any written agreement between Borrower and
                    Lender provldlng for such termlnadon or until lermlnatlon ls requlred by Appllcable Law. Nolhlng ln this
                    Sectlon l0 affecr Borrower's obllgation lo pay lnteresl al the rate provlded ln the Note.
                          Mortgage Insurance relmburses Lender (or any enlily lhat purchases the Note) for cerlaln losses lt
                    may lncltr if Borrower does not repay the Loan as agreed, Borrower is nol a party lo the Mortgage
                    Insurance,
                          Mortgage lnsurers evaluate lheir lolal rlsk on alt such insurance ln force fmm tlme to tlme, and may
                    enler lnto agreements wllh olher pdties that share or modlfy thelr rlsk, or reduce loses. These agreemenls
                    ile on lerms and condlllons lhat are satisfactory lo lhe morlgage insurer and the other party (or pilies) lo
                    these agreemetls, These agroements may require the morlgage lnsurer lo make paymenas uslng any source
                    of funds that lhe mortgage lnsurer may have avallable (whlch may lnclude funds obtalned from Mortgage
                    lnsrrance premlums),
                          As a resull of lhese agreemells, Lender, any purchaser of the Nole, anolher lnsurer, any relnsurer,
                    any olher enllty, or any afflllate of any of the foregolng, may recelve (dlrcctly or tndtrectly) amounls that
                    derlve from (or mlght be characterlzed as) a portlon of Borrower's payments for Morlgage Insurance, ln
                    exchange for sharlng or modt$lng the mortgage lnsurer's rlsk, or reduclng losses, Ifiuch agreermnl
                    provldes that an afliliate of Lender lakes a share of lhe insurer's rlsk in exchange for a share of the
                    premiums paid to the insurer, the arrangement ls often termed "captlve reinsuranoe," Furlher:
                          (a) Aay such sgro@cnts vill lot affoct tbo !,mouDts thrt Bsroryor bas agroed to pEy fG
                    Mortgrgo [Diurmco, or any other terms of tho Lom. Such sgroeocots will not hcroso tbo auouut
                    Borrower will owo fu Mortgago Inrurance, and thry wtll tror cotith Borroryc to aoy rofutrd.


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                         O) Any ruch rgrocmcotg will not rffoct tho rigbtr Bomowcr har - lf any - with rorpoct to Oc
                    Mortgrgo Iasurancc undc tto Homm*:rcr Protcctioo Act of I99t c aoy othcr lrw. There rigbts
                    may includo tho right to rocoivo ccrrtain dlsclonrro, to roquoct and obtain oaacollatioa of tho
                    Mortgrgo Insuancg to hayo tho Mortgsgo Iaguranco terrmbatod rutoaticdly, aod/or to roceiw a
                    refuud of any Mortgrgo Insuraaco prmiums that wro uoearnod at the tims of such canccllatlotr a
                    tcrmhathr.
                          tt.   dsrigrm6t of Miscolhncors Procoods; Forfoituro. All Miscellaneous Proceeds are hereby
                    asslgned
                        -
                               lo and shall be paid to Lender.
                          If the Property ls damaged. such Miscellaneous Proceeds shall be applied to restoration or repalr of
                    the Properly,  if lhe reslorallon or repair is economlcally feaslble and Lender's securlly ls not lesened.
                    Durtng such repalr and resloratlon perlod, Lender shall have lhe rlght lo hold such Mlscellaneous Proceeds
                    untll Lender has had an opportunity lo lmpect such Property lo insure lhe work has been compleled to
                    Lender's satisfaction, provided thal such inspeclion shall be underlaken pmmplly. l*nder may pay for the
                    repalrs and resloralron ln a slngle disbursement or ln a serles of progrers payments as the work ls
                    completed. Unless an agreement ls made ln writing or Appllcable L:w requlres lntercsl to be pald on such
                    Mlscellaneous Pmceeds, Lender shall not be requlred to pay Borrower any lnleresl or eamlhgs on srch
                    Mlscellaneous Proceeds. If lhe resloratlon or repair is nol economlcally feaslble or Lrnder's security would
                    be lessened, the Miscrllaneous Proceeds shall be applied to lhe sums secured by lhis Securlty lnstrumenl,
                    whether or nol lhen due, wlth lhe excess, lf any, pnid lo Borrower, Such Mlscellaneous Proieeds shall be
                    applied in the order provided for in Section 2.
                          In lhe evenl of a lolal taking, desruclion, or loss in value of lhe Properly, lhe           Miscellaneous
                    Procecds shall be applled to the sums secured by lhis      &curity lnslrumenl, whether or nol then due, with
                    lhe excess. lfanv, paid lo Borrower.
                         In lhe eveni oTa parllal taklng, destruction, or los ln value of the Property ln which the fair market
                    value of lhe Properiy lmmedlately before the partial laklng, destrucllon, or loss ln value ls equal to or
                    greater lhan lhe amount of the sums secured by thls Securily lnstrument lmmedlately before the partlal
                    taking, destruclion, or loss in value, unles Bonower and I-ender otherwise agree in wrlllng, the sums
                    secured by lhls Securlty lnstrument shall be reduced by lhe amount of the Miscellaneous Proceeds
                    multplled by the following fractlon: (a) the lotal amount of the $lms secured immedlately before the
                    par0al taking, destructlon, or loss in value dlvided by O) Oe falr markel value of the Property immedlately
                    before the parllal hklng, destruction, or loss in vatue. Any balance shall be pald to Borrower.
                      -  In lhe event of a -parllal tallng, destructlon, or lossln value of .the Property ln whlch the fair market
                    value of the Property lmmedlately befort the partial taklng, destructlon, or loss ln value ls less than the
                    amounl of the sums secured lmmedlately before the partlal hklng, destructlon, or loss ln value, unless
                    Borrower and Lender olhenrise agree in wrltlng, the Mlscellaneous Procteds drall be applled to lhe sums
                    secured b5r tlrls Securlty Instrument whether or nol the sums are then due.
                          If   lhe Properly ls abandoned by Borrower, or          lf.   after notice by Lender to Borrower that the
                    Opposing Party (as deftned in the nexl sentence) orfers to make an award to seltle a claim for damages,
                    Bomower faits lo res-pond lo Lender wllhln 30 days after the dale the notice is gtven, Lender is aulhorized
                    lo collect and apply the Miscellaneous Proceeds either to resloration or repair of the Property or lo the
                    sums secured by lhis Securily Instrument, whether or nol then due. "Opposing Party" means the thlrd part5r
                    thal owes Borrower Miscellaneous Proceeds or the parly against whom Boriower-has a right of actidn in
                    regard to Miscellaneous Proceeds.
                      -   Borrower shall be ln default lf any acllon or proceedlng, whether clvll or crlmlnat, ls begun that, ln
                    Lender's Judgrnent, could resull ln forfetture of lhe Properly or olher malertal lmpalrmenl of Lender's
                    intereil ln lhe Pmperty or rlghls under thls Securily lnslrumenl. Bormwer can cure such a default and, lf
                    accelerallon has occurred, relnstale as provlded in Secllon 19, by causlng lhe acllon or proceedlng lo be
                    dlsmlssed wllh a rullng thal, ln Lender'sJudgnent, prtcludes forfellure of the Property or other malerlal
                    lmpalrment of Lender's lnlered ln lhe Properiy or rlghls under thls Seorrlty Instrument. The pmceeds of
                    any award or clalm for damages that are attribulable lo lhe lmpalrmenl of Lender's lnteresl in the Proprly
                    are herebv asslpned and shall be oald to Lender.
                          All tlFcellaneous Proceedi lhat are not applted to reslomllon or repair of lhe Property shall be
                    applled tn lhe order provlded for ln Sectlon 2.
                          12, Barowcr Not Roloosod; Forboaraaoo By Lodc Na a Waivcr. Extenslon of the tlme for
                    paymenl or modlllcation of amorllzatlon of the sums securrd by thls Securlty Inslrumenl granted by Lender



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                    lo Bomower or any Successor ln Inleresl of Borrower shall not operale to r€lease the llabtll$ of Bonower
                    or any Successon ln Intercsl of Borrower. Lender shall not be required lo commence proceedlngs agalnst
                    any Successor in Inleres of Borrower or to refi$e lo exlend time for pajrmenl or olhena,isl modify
                    amonizafion of the srlms secured by this Secrrily Instrument by reason of any demand made by lhe orlglnal
                    Borrower or any Succesors in Interest of Borrower. Any fonbearance by Lender in ererdslng any rlghl or
                    remedy lncludiig, wlthout timitation, Lender's acceptince of paymeris from third perso,i,                  or
                                                                                                                     "-ntiti"s
                    Successors in lnterest of Borrower or in amounts less lhan lhe amounl then due, shall nol be a walver   of or
                    preclude the exercise of any righl or remedy.
                           t3. Joint and Soveral Licbrltty; Cccigrcrs; lluccescorc sDd Arrlgns Bouad. Borrower covenanls
                    and agrees lhal Borrower's obllgatlons and liabillly shall beJolnt and several. However, any Borrower who
                    co-slqns this Secudty Inslrumenl bul does nol execute the Nole (a "co-slgner"): (a) ls co-sisnlns thls
                    Secufrty tnslrumenl r;nty to morlgage, grant and convey the co-sfnlr's inteiest     ii
                                                                                                        ttie Property"unfir the
                    lerms of ftis Security Instrumenl; (b) is not personally obligated lo pay the sums secured by thls Securlty
                    Itrslrument; and (c) agrees lhal Lender and any olher Bormwer can agree lo extend, mdiry, forbcar or
                    make any accommodalions wlth rrgard lo lhe lerms of thls Security Inslrumenl or the Nole wilhoul lhe
                    co-signer's consenl.
                         Subject to lhe provlslons     of   Seclion   lt,   any Successor In Interest of Borrower who     assumes
                     Borrower's obligations under lhls Securlty Instrumenl in wrlling, and is approved by Lender, shall obtaln
                     all of Borower's rlghts and beneflls under thts Securlty Instnrmenl. Bormwer shall not be released from
                     Borrower's obllgatlons and llaHllly under lhls Securlty Instrument unless Lender agrees to such release ln
                    wriling. The covenanls and agreements of thls Securtty Instrument $all blnd (excepl as provided ln
                    Section 20) and benelll the successors and asslgns of Lender.
                           14. Loan Chargos. Lender may charge Bonower fees for sewices performed in conneclion wlth
                    Borrower's default, for the purpose 6f prolecling Lender's inlerest ltr lhe Pmperty and rlghts under lhis
                    Security Inslrumenl, lncludlng, bul nol iimiled lo, atlomeys' fees, properly inspection and valuation fees.
                    In regard to any other fees, the absence of express authorlty ln lhls SecurltJr Inslrumenl to charge a speclflc
                    fee to Bonower shall not be conslrued as a piohlbltlon on the chargtng of such fee, Lender may nol charge
                    fees that are expressly prohibited by this Security Instrument or by Applicable Law,
                          lfthe Loah is sdbjeo to a law'which ses riaximum loan chirgeiiand that law is ltnally interprcted so
                    that the lntercst or olher loan charges collected or to be collected in connectlon wlth the Loan exceed the
                    permltted limlts, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
                    charge to the permilted llmit; and ft) any sums already collected from Borrower whlch exceeded permltted
                    llmits wlll be refunded lo Borrower. Lender may choose to make this refund by reduclng the prlnclpal
                    owed under the Note or by maklng a direct payment to Borrower. If a refrmd reduceiprlncipal, ihe
                    reductlon wlll be treated as a partlal pEpaymenl wilhoul any prepayment charge (whether or nol a
                    prepaynent charge ls provlded for under the Nole), Borrower's acceptance ofany such refund made by
                    dlrcct?aymenl lo Bonower will constllute a waiver of any rlght of action Bonower mlght have artstng out
                    of such overcharge.
                           15. Noticcs. All nollces glven by Borrower or Lender In connectlon wltb thls Security lnslrument
                    musl be in writing, Any nollce to Borrower in connection wtth thls Securlly tnslrument shall be deemed to
                    have been glven to Borrower when malled by flrst class mail or when aclually dellvcrr{ lo Bomower's
                    notice address lf sent by other means. Notice io any one Borrower shall constltute nolice lo all Borrowers
                    unless Applicable Law expre.ssly requires othenviie. The nollce address shall be the Property Address
                    unless _Borrower has deslgnated a subslitule notice address by nolice to Lender. Borrower shall promplly
                    notlfy Lender of Borrower's change of address. lf Lender specifies a pmcedurr for reportlng Borroiler's
                    clange of addrrss, lhen Borrower shall only report a changd of addrcis thmugh that specifidd pmcedurc.
                    There may be only orn designaled notice iddress under ihls Securily Inslrument at iny one time, Any
                    notice to Lender shall be given by delivering lt or by maillng it by flrst class mall lo Lender's addrts
                    slated herein unles Lender has deslgnated another address by nollce lo Borrower. Any notlce in
                    connecllon with this Security Inslnrmenl shall nol be deemed to have been glrrcn to Lender until aclually
                    received by Lender. If any irotlce requlred by thls Securig Instrumenl ls aiso required under Appllcabll
                    Law, lhe Applicable Law reguirement will satls$ lhe corresponding requirement under this Securily
                    Instrumenl.




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                             16. Govcrning Law; Scvcrability; Rutca          of Cmgtruotion. Thls            Security lnstrument shall be
                        governed by federal law and the law of the Jurisdlctlon tn which the Properry is localed, All rlghs and-
                        obligations-contained ln thls Securlty Instrument are srbJect to any requlrements and limltatloru of
                        Applicable Law, Applicable Law might explicitly or implicitly allow the parties to agree by contracl or lt
                        might be silent, but such sllence shall not be construed as a prohlbltion against agreemenl by contract.. ln
                        the event that anv omvlslon or clause of thls Securlw lnstrument or the Note conflicts with Aopllcable
                        Law, such confliir itratt not affect other provlsions of this Security tmtrumenl or the Note whlcl can be
                        civen effect wlthout the confllcilnc orovlslon.
                        "     As used in this SecuritSr Insirument: (a) words of the masculine gender shall mean and include
                        correspondlng neuter words or words of the femlnlne gender; O) words ln lhe singular shall mean and
                        lnclude the plural and vlce versa; and (c) lhe word "may" glves sole dlscretlon wilhoul any obligatlon to
                        take any actlon,
                              17. Borrowo's Copy. Borrower shall be glven one copy of the Nole and of this Security Inslrument,
                              18. Traagfcr of thc Propoty     c     a Booficial lnt*cct          b
                                                                                             Borowc. As used ln lhls Sectlon 18,
                        "lnleresl ln the Property" means any legal or benefldal lnteresl ln lhe Property, lncludlng, bot nol Umited
                        lo, lhose beneflcial lnterests lransferred ln a bond for deed, contracl for deed, lnstallment sales contracl or
                        escrow aEreemenl. the lnlent ofwhlch ls the transfer oftltle by Borrower at a fulure date lo a Durchaser,
                              If alt or any part of the Property or any lnterrsl ln the Froperty ts sold or transferred (oi if Borrower
                        is nol a nalural person and a beneffcial inleresl in Borrower is sold or transferred) wllhout Lender's prior
                        wrillen consenl, Lender may require immediale pa)rmenl ln full of all sums secured by this Sccurity
                        Instrument, However, thls oplion shall nol be exercised by Lender if such exercise is prohibiled by
                        Applicable Law.
                               If Lcnder exerctses this oplion, Lender shall give Borrower nolice of acceleralion. The notice shall
                        pmvlde a period of nol less than 30 days fmm lhe dale the notice is given in accordance wilh Seclion t5
                        wilhin which Borrower musl pay all srms secured by this Security Inslrumenl, If Bortower fails lo pay
                        tbese sums prlor lo the explratlon of this perlod, Lender may lnvoke any remedles permllted by lhls
                        Securlty lnstrument wlthout further notlce or demand on Borrower.
                               19, Borrower'c Rigbt to Robctato After Acoeleration.                  If
                                                                                                  Borrower meets cerlaln condlllom,
                        Bormwer shall have lhe rlght to have enforcement of this Security lnsrumenl dlscontinued at any tlme
                        prlor to the earllest of: (a) five days before sale of the Property pursuant to any power of sale contalned ln
                        thls Securlty In$rument; (b) such olher perlod as Appllcable Lew mlght specl$ for the termlnation of
                        Borrower's rlght to relnstate; or (c) entry of a Judgment enforcing thls Securlty Irulrument. Those
                        condltlons are that Borrower: (a) pays Lender all sums whlch then would be due under this Sectrlly
                        lnslrumenl and the Note as lf no acceleratlon had occurred: (b) cures any default of any other covenanls or
                        agreements: (c) pays all expenses lncurred In enforclng thls Securl$ Inslrumenl, lncludlng, bul not llmlled
                        to, reasonable allorneys' fees, properly lnspecllon and valuatlon fees, and olher fees lncurred for lhe
                        purpose of protecttng Lender's inleresl in lhe Property and rlghts under thls Sectrity Ingrument; and (d)
                        takes such actlon as Lender may reasonably requlre to assure lhal Lender's lnleresl ln the Properly and
                        righs under thls Securlg l[stnrment, and Borrower's obllgatlon lo pay lhe sums secund by thls Sccurlly
                        lnslrumenl, shall conllnue unchanged. Lender may regulre that Borrower pay such relnslalement stms and
                        expens€s ln one or more of lhe followlng forms, as selecled by Lender: (a) cash; (b) money order; (c)
                        cerlified check, bank check. treasurer's check or cashier's check, provlded any such check ls drawn upon
                        an lnsdlullon whose deposlls are lnsured by a federal agenry, lnstrumentallty or enllly: or (d) Electronlc
                        Funds Transfer, Upon reinslalemenl by Borrower, lhls Security lnstrumenl and obligations securcd hereby
                        shall remain fully effmtlve as if no acceleralion had occurred, However, this right lo relnslate shall nol
                        apply ln lhe case of acceleBtion under Section 18.
                              20. Sale of Note; Change of Loru Srvicor; Notice of Orievaoce. Th€ Note or a par{lal interest in
                        the Nole (together with lhis Security Instrumenl) can be sold one or more times wilhout prlor notice to
                        Borrower. A sale might result in a change in the entity (known as the "Loan Servlcer") that collects
                        Perlodlc Payments due under the Note and thls Security Instrumenl and performs other morlgage loan
                        servlclng obllgatlons under the Note. thls Securlty lnstrument, and Appllcable Law. There also mlght be
                        one or more changes of the Loan Servlcer unrelated lo a sale of lhe Note. If there ls a change of the Loan
                        SeMcer, Borrower wlll be glven wrltten nollce of the change whlch will state the name and address of the
                        new Loan SeMcer. the addres to whlch payments should be made and any other lnformation RESPA



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                        requires in connecllon wlth a notice of lransfer of servlclng. If the Note ls sold and ahereafler the Loan ls
                        servlced by a Loan Servlcer other lhan the purchaser of lhe Note, lhe mortgage loan servlclng obllgallons
                        to Bsrrorrysl \illll remaln wllh the Loan Servlcer or be lransferred lo a successor Loan Servlcer and are not
                        assumed by the Nole purchaser unless otherwlse provlded by lhe Note purchaser.
                              Nellher Borrower nor Lender may commence, Joln, or be Jolned lo any Judlclal actlon (as ellher an
                        lndlvldual lltlgant or lhe member of a ctass) lhat artses from fte other party's aclions pursuanl to lhls
                        Securlg Inslrumenl or that alleges thal the other party has breached any provtslon of, or any dugr owed by
                        reason of, thls Securlty Instrument, untll such Borrower or Lender has nollfled the other parly (wtlh such
                        nollce glven in compllance wllh lhe requlremenls of Secllon 15) of such alleged breach and afforded tlrc
                        other Party herelo a reasonable perlod afler lhe $vlng of such notice lo lake correctlve aclion. lf
                        Appllcable Law provldes a tlme perlod whlch must elapse beforc cerlaln acllon can be laken, lhat tlme
                        perlod wlll be deemed to be reasonable for purposes of thts paragraph. The nollce of acceleratlon and
                        oPPortunlty lo cure given to Borrower pursuant lo Sectlon 22 and lhe nollce of accelerallon glven to
                        Borrower pursuant to Section   lt  shall be deemed   lo satlsfy the notlce and opportunigr lo tale correctlve
                        actlon prcvlsions of this Sectlon 20.
                             21. Ilezrrdous SubstEocos, As used in thls Secllon 2l: (a) "Hazardous Substances" are             those
                        subslances de|ned as toxlc or hazardous subslances. pollutants, or wasles by Envtronmental Law and the
                        followlng substances: gasollne, kerosene, other flammable or loxtc pelroleum producls, toxlc pesllcldes
                        and herblcldes, volallle solvenls, materlals conlainlng asbeslos or formaldehyde, and radtoacllve materlats;
                        O) "Envlronmental Law" means federal laws and laws of lhe Jurtsdlctlon where the Property ls located lhat
                        relate to heahh, safety or environmenlal proteclion; (c) "Environmenlal Cleanup. includes any responie
                        acllon, remedlal acllon, or removal acllon, as de0ned ln Envlronmenlal law; and (d) an "Envlronmental
                        Condillon" means a condltlon lhat can cause, contrlbule lo, or olherwlse trlgger an Environmental
                        Clernup.
                             Bormwer shall nol cause or permll lhe prcsencc, use, dlsposal, slorage, or release of any Hazardous
                        Subslances, or threalen lo release any Hazardous Subslances, on or ln the Properly. Borrower shall not do,
                        nor allow anyone else to do, anylhlng affectlng lhe Prcperly (a) that ls In vlolatlon of any Envlronmental
                        taw, O) which creates an Envlronmental Condition, or (c) which, due to the prcsence, use, orreleaseof a
                        Hazardous Subslance, creales a condilion that adversely affects the value of the Pmperg. The preceding
                        two sentences shall not apply to the presence, use, or slorag€ on the Property of small quantities of
                        Hazardous Subslances that are generally reoognlzed to be approprlale to normat resldentlal uses and to
                        mainaenance   of the Property (including, bul nol limited to, hazardous substances in consumer producls).
                              Borrower shatt pomptly $ve Lender written notlce of (a) any investigation, claim, demand, lawsuir
                        or olher action by any governmenlal or regulalory agency or private party lnvolvlng the Property and any
                        Hazardous Substance or Environmental Law of whlch Borrower has actul knowledge, (h) any
                        Envlronmental Condition. including but not limited to, any spilling, leaking. discharge, retease or threat of
                        release of any Hazardous Substance, and (c) any condltlon causd by the presence, use or release of a
                        Hazardous Substance which adversely affects the value of the Property. If Borrower leams, or Is notllled
                        by any governmentral or regulatory authority, or any private party, lhat any removal or other remediation
                        ofany Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
                        remedlal actions ln accordance wlth Environmen(al Law. Nothlng hereln shall creale any obllgatlon on
                        Lender for an Envlronmental Cleanup.




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                           NON-UNIFORM COVENANTS. Bonower rnd Lender further'covenanl and agree as follows:
                           22, Acoelemtioa; Rcmodins. Lcnder ghall glvc notioo to BGrow€E pria to accolration follorvlng
                     Burowc'g broach of aDy govcoaut or rgresncnt h thir Soourity Instrunent @ut not pria to
                     aocalcrtioo under Soction 18 unles Applicablo Law provides othcwirc). Ths notico shall Epociry: (a)
                     thc dehult; (b) tho aaio roquirod to curc thc deftuh; (c) a datc, nd lcsc than 30 days Am thc date
                     thc noticc is dveo to Eurowcr, by which the deftu[ must bc orod; and (d) that hilurc to curc $c
                     dcfouh o q boforo tho dato speiEcd h thc noticc aay result h ecceleration of the gumc crured by
                     thir Sccurlty Indruncot aad ralc of tbc Pro,pcrp, Tbo loticc sha[ futthc hform Borrowcr of tbe
                     rtght to roinsteio aftor acc€tcrction rnd tho right to bring a court cctioa to ssEcrt the non-srfutmoc of
                     a dofault o rny othc do&uro of Bcrower to accolcratio and rilc. If thc dcfault ir nd curcd on a
                     bofco ths date cpecificd b the notice, Leodcr at ite option may roquLo hnodiste psym@t itr fuU of
                     all sumc cecurcd by thir Security Instrunont witbout further dcnoand aad moy iavoko t[o powcr of
                     sslo and any othcr roodbs pormitted by Applicablo Lcw. Lcndo gball bo entitlod to collcot 8ll
                     .xpotrsGr inc-urrod in purnring tho reinodioc provldod b thir Soction 22, bcludin6 but not linitod to,
                     resoncble attcncyC fees and costs of titlo svldenco.
                           ULcrdcr invokor tho porc of calq Lodq chal exssuts q crulo Trustec to €xscrto a wtitto
                     uotico of the oesurroroo of !D cvent of dofault and of Lsnd€r's sbstio to cruso tho Pre€rty to b!
                     sold. Tructoo shall causo thk ndlco to bc rocodod in cach cornty h whlch ray pail of tho Prqcrty
                     b loclt€d, Lcodo s Trugtc shall mEll coplos of the aotico ai prorcribod by Applicablo Lew to
                     Borrowo and to the othc persons proscrlbod by Applioablo Law, Trustcc rhall givo public notlcc of
                     salc to tho pcrsons and in ths EEDnGT proeolbod by Appliceblo Law. Afrcr the timo roquirod by
                     Applicable Law, Trudoo, wlthout dcmand oa Borrower, shall soll tho Propcrty at publlc luctl@ to
                     tho hl$qst blddcr gt tho timo and placo rnd uader ths terms dssigDrtGd h tho notico of calo in oc or
                     mcc perccls and in aoy ordcr Trustcc detauboc. TruEteG EEy pootpono sale of all or aoy parcol of
                     thc Proporty by publio sDnounglrlat et tho timo and placo of aay proviorsly rohodulod sclo. Lcndcr
                     or ito dos@c Esy purcbErc tho Propoty 8t 8oy srlo.
                           Trustoo shdl dolivcr to tho purohosc Trugtoo's desd coovoying tbc Property wlthout any
                     cov@rot I wErrarty, c:grcssod or inpliod. Tho rositals in tho Trustoo'g dood rhall bo prima facie
                     ovldoco of tho truth of thc $atemcilrts mado thcrob. Tlustoc rhall apply tho proooods of tho ralo in
                     tho fo[owhg ordor: (a) to all crryoosos of tho salo, includhg but aot linitod to, roasonablc Trurtoo's
                     rod attornrys' ftcr; (b) to all guns sccurcd by thlr Sccurity Instruncnt; and (c) any o<cos to tho
                     porro! or p€rlonr logs[y cotitled to it,
                           23. Roconvcyrocc, Upon paymeil of all sums secured by thls Securlty Inslrumenl, Lender shall
                     requesl Truslee lo reconvey lhe Property and shall surrender lhis Securlly Instrumenl and all notes
                     evldencing debl secured by this Securlty Inslrument lo Trustee. Truslee shall reconvey lhe Properly
                     wllhoul warranty to the penlon or persons legdly entilled to il. Lender may chargesuch person or penrons
                     a reasonable fee for reconveSdng the Property, but only lf lhe fee is pald to a lhird parly (such as the
                     Truslee) for services rendered and the charging of the fee ls permilted under Appllcable Law. If the fee
                     charged does not exceed the fee set by Appllcable   [aw,   the fee ls concluslvely presumed to be reasonable.
                          24. Substitutc Trugtcc, Lender. al lts optlon. may from tlme to tlme rppolnt a successor lrustee to
                     any Trustee appolnted hereunder by an lnstrument executed and acknowledged by Lender and recorded ln
                     the ofllce ofthe Recorder oflhe coung ln whlch the Property ls located, The lnstrument shall contaln Ihe
                     name of lhe orlglnal Lender, Trustee and Borrower, the book and page where thls Securtty Inslrument ls
                     recorded and the name and address of lhe successor lnrstee. Wlthout conveyance of fie Property, the
                     successor trustee shall succeed to all the tltle, powers and dutles conferred upon Oe Trustee hereln and by
                     Appllcable Law. Thls procedure for subslltullon of trustee shall govern lo the excluslon of all other
                     pruvislons for substilution.
                          25. Statmmt of Obligption Foc. Lender may collect a fee no! lo exceed the maxlmum amounl
                     permltted by Applicable Law for furnishing the statement ofobligatlon as provlded by Secllon 2943 of the
                     Clvll Code of Californla.


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                        BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenanls contalned ln this
                    Securlly Instrument and in any RIDER executed by Borrower and recorded with lt,

                    Wltnesses:




                                                               -Wllncts




                                                               -Wltn6i




                                                          -Borover                                                         -Boro,ver




                                                             /Seall                                          ____ISeal)
                                                          -Borrower                                                        -Eorower




                                                                                                                                 (Seal)
                                                          .Bormwer                                                         -   Borrowcr




                                                             (.Seel)                                                             (Seal)
                                                          Borror,ver                                                       -Borrowtr




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                        on ll- lrt,ot
                        Htl   F.   cllEtAto PAU lr. cttE)
                                                                  beforc me,      bwaTArr'vl^                    ^W, O^U.L   appeared




                                                                                                           , pceeeualty known to me
                        (or proved to me on the basls of satlsfactory evldencc) to be the person(s) whose name(s) ls/are subscrlbed
                        lo the wllhin lnslrumenl ard acknowledged to me lhal he/she/they execuled the same ln hlVher/thelr
                        authorlzed capactty(les), and that by htVher/thelr slgnature(s) on the lnslrument the person(s) or the entlty
                        upon behalfofwhlch the person(s) acled, executed the instrument.

                        WITNESS my hand and ofllclal seal.



                                                                                                                               (Seal)




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                                                       1-4 FAMIN.Y RIDER
                                                           (Assignment of Rcnts)




                           THIS 1-4 FAMILY RIDER is made this 13th day of               NOVEMBER,2006
                       and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed
                       of Trust, or Security Deed (the "Security lnstrument") oF the same date glven by the
                       undersigned (the "Bonower") to secure Borrower's Note to
                       SCME MORTGAGE BANKERS. INC,, A CALIFORNIA CORPORATION

                        (the "Lender")   of the same    date and covering the Property described         in the   Securlty
                        lnstrument and located at:
                                                  815 BUTLER AVENUE, SANTA ROSA, CA 95407
                                                             [Property Address]
                             l.f FAMILY COVEI{ANTS. ln additlon to the covenants and agreements made in the
                       Security lnstrument, Borrower and Lender further covenant and agree as follows:
                            A. ADDITIONAL PrcPERTY SUBJECT TO THE SECURTY lNSTRt MB,IT. ln addition to
                       the Property described in the Security lnstrument, the following atems now or hereafter
                       attsched to the Property to the extent they are fixtures are added to the Property descrlptlon,
                       and shall also constitute the Property covered by the Security lnstrurnent: building materials,
                       appliances and goods of every nature whatsoever now or hereafter located in, on, or used, or
                       intended to be used in connection with the Property, including, but not limlted to, those for
                       the purposes of supplying or distributing heating, cooling, electricity, gas, water. air and light,
                       fire prevention and extinguishing apparatus, security and access control apparatus, plumbing,
                       bath tubs. water heaters, water closets, sinks, ranges, stoves, refrigerators, dishwashers,
                       disposals, woshers, dryers, awnings. storm windows, storm doors, screens, blinds, shades,
                       curtains and cunain rods, attached mirrors, cablnets, panellng and aBached floor coverings,
                       all of which, including replacements and additions thereto, shall be deemed to be and remain
                       a part of the Property covered by the Security lnstrument. All of the foregoing together wath
                       the hoperty described in the Security lnstrument (or the leasehold estate af the Security
                       lnstrument is on a leasehold) are referred to in this 1-4 Famlly Rlder and the Securlty
                       lnstrument as the "Property."
                            B. USE OF PROFERTY: COMPLIANCE WITH l-AW. Bonower shall not seek, agf,ee to or
                       make a change in the use of the Property or its zoning classification, unless Lender has
                       agreed ln writing to the change. Borrower shall comply with al! laws, ordinances, regulations
                       and requirementa of any governmental body appllcable to ths Propeny.
                            C. SUBORDIMTE UB{S. Except as permitted by federal law, Borrower shall not allow
                       any lien inferior to the Security ln'strunint to be ferfecteO against the Property without
                       Lender's piior wrltten permlssion.
                            D, RE{T LOSS INSURANCE Bonower shall maintaln insurance against rent loss in
                       addition to the other hazards for which insurance is requ3red by Section 5.

                                                                                                               ,N&PL'
                       MULT]STATE 1- 4 FAMILY RIDB - Fannle Me/Freddls Mac UNlFoFl, lNsf,RHfH]\fTl                     ,ttl1
                                                                                                                  70
                       v€7R (o411).O1          Page 1 of   3      LENDER SUPPORT SYSTEMS tNC. s7R.NEW (06/06)




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                             E 'BORROWERS       RIGHT TO RENSTATP DEEIED. Section 19 is deleted.
                             F. BORRO\IiERS OCCUPANCY. Unless Lender and Borrower otherwise agree in writing,
                        Section 6 concerning Borrower's occupancy of the Property ls deleted.
                             G. ASSIGNMBIT OF LEASES. Upon Lender's request after default. Bonower shall assagn
                        to Lender al! leases of the Property dnd all securlty deposlts made ln connection with leases
                        of the Property. Upon the aisigriment. Lender s-hall 'have the raght to modify. extend or
                        terminate the existanq leases and to execute new leases, an Lender's sole discretion, As used
                        in thls paragraph G, ihe word "lease" shsll mean "subtease" .if the Security lnstrument is on a
                        leasehold.
                             H. ASSTGNMENT OF REITS; APFOINTMEIIT OF               REEVB LB.IDR lN FOSSESION.
                        BorrowEr absolutelv and unconditionallv assiqns and transfers to Lender all the rents and
                        revenues ("Rents")-of the Property, re-gardles-s of to whom the Rents of the Property are
                        Davable. Borrower authorlzes L'ender or Lender's aodrts to collect the Rents, and aorees that
                        ba6h tenant of the Propertv     shall Dav the Rents-to Lender or Lender's aeents. Iowever,
                        Borrower shall receive 'the- Rents 'unlit: (i) Lender has given Bonower n-otice of defauh
                        oursuant to Section 22 of the Securitv lnstrument. and fiil Lender has oaven notice to the
                        ienant(s) that the Rents are to be paid (o Lender or Lender"i agent. This aisignment of Rents
                        consthutes an absolute assignment and not an asslgnment for addluonal security only.
                             lf Lender glves notice of defauh to Borrower: (i) all Rents received by Borrower shall be
                        held by Borrower as trustee for the benefit of Lender only, to be applaed to the sums secured
                        by the Securlty lnstrument; (ii) Lencrer shall be entitled to collect and receive all of the Rents
                        oI the Propert!; (iii) Bonower agfees that each tenant of the Property shall pay all Rents due
                        and unpaid to Lender or Lender's agents upon Lender's written demand to the tenant; (iv)
                        unless applicable law provides otherwise, all Rents collected by Lender or Lender's agents
                        shall be appliecl tirst to the costs of taklng control of and managing the Property and
                        collecting the Rents, including, but not limited to, attorney's fees, receivbr's fees, premiums
                        on receiVer's bonds, repair and maintenance costs, insurahce premiums, taxes, assessments
                        and other charges on the Property, and then to the sums secured by the Security lnstrument;
                        (v) Lender, Lender's agents or any judiciatly appointed receiver shall be liable to account fol
                        only those Rents actually received; and (vi) Lender shall.be entitled to have a receivel
                        aooointed to take oossession of and manaoe the Prooenv and collect the Rents and orofits
                        dbiived from the Froperty without any sh-owing as'to t'he inadequacy of the Propehy as
                        security.
                             lf the Rents of the Propertv are not sufficient to cover the costs of takinq control of and
                        managing the Property and of-collecting the Rents any funds expended by fender for such
                        purposes shall become indebtedness of Borrower to Lender secured by the Security
                        lnstrument pursuant to Section 9.
                             Bonower reDresents and warrants that Borrower has not executed any Drior assionmont
                        of the Rents and has not performed, and will not perform, any act that wo-ut8 prevent'Lender
                        from exercising its rights under this paragraph,
                             Lender, or Lender's agents or a judiclally appolnted recelver, shall not be required to enter
                        upon, take control of or maintain the ProDertv before or after oivino notice of defauh to
                        Bbnower. However, Lender, or Lender's ag'enti or a judicially app-ointei receiver, may do so
                        at any time when a default occurs. Any application of Rents shal! not cure or waive any
                        defauft or invalidate any other right or rimbtty of Lender, This assignment of Rents of th-e
                        Propeny shalt terminate-when all ihe sums secrirect by the Security tns-trument are paicl in full.
                             l. CROS$DFAULT PROVISION. Borrower's default or breach under any note or
                        agreement in whlch Lender has an lnterest shall be a breach under the Security lnstrument
                        and Lender may invoke any of the remedies permitted by the Securny lnstrument.




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                          BY SIGNING BELOW, Bgrrower accepts and agrees to the terms and covenants contained
                    ln thls 1-4 Famaly Rider.




                                                        -Borower                                           -Bonower




                                                       -Bomwr                                              -Boamwot




                                                           (Seal)                                             (Seal)
                                                        -Botrowet                                          -Borrolvsr




                                                        -Borrower                                          -Boarowet




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                    Assessor's Parcel Number:
                    r 34-061-026.000
                    After Recordlng Return To:
                    SCME MORTGAGE BANKERS, lNC. c/o NATIONWIDE TITLE
                    CLEARING, lNC. ATTN: FINAL DOCS UNIT
                    21OO ALT 19 NORTH
                    PALM HARBOR, FL 34683

                    Prepared By:




                    ()
                                                   -[Spooo Abovo This Line For Rocording
                                               FDGD/ADJUSTABLE RATE RIDER
                                 (LIBOR OneYoar Ilder (Ar Publfuhd lo The l*hll tueet lounal) - Rrto Capr)


                        THIS FIXED/ADJUSTABLE RATE RIDER ls made thls 13th day                           of
                                                                                                  NOVEMBER, 20Oo
                    and ls lncorporaled lnlo and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or
                    Security [hed (the 'Security Instrumenl") of the same date glven by the underslgned ("Borrower') lo
                    secure Borower's Flxed/AdJustable Rate Note (the "Note") lo
                    SCME MORTGAGE BANKERS, INC., A CALIFORNIA CORPORATION
                    ("Lender") orrhe same    o"lior:"Jillf;                                                                 and rocared ar:
                                                                 lil['..lJ,g^H'Xt-fr'1,txt:H'yrlnsrrument
                                                                    [Proprty Address]
                                                                   HXE INTEREST RATETO AN
                       THE NOTE PRO/IOEI FORA CIIANGE IN BORROTA'EKS
                       ADJUSTABLE INTBEST RATE THE NOTE LIMITS THE AMOUNT BORROWBS
                       AOJUSTABLE INTEREST RATE CAN CHANGE AT ANY ONE TIME AND THE MAXIMUM
                       RATE BORRO\^/ER MUST PAY.

                         ADDITIONAL COVENANTS. In addillon to the covenanls and agreemcnts made                             ln the Securlty
                    Inrtrument, Borrower and [rnder firrther covenanl and agree as follows:


                    A. ADIUSTABLE         RATE AI{D MONTHLY PAYMENT CHAI{GES
                             The Nole provldes for an lnltlal llxed lnterest rate   of        7,12s           %.   The Note also provldes
                    for a change tn lhe lnltlal flxed rate to an adjustable tnterest rate, as fotlows:




                    Conv
                                      F|XED/ADJUSTABLE RArE RIDER-wSJ one.Year LIBoR - Sinele                       Family
                    ;il[HlIitHE                                                                                                  ,"nn@C_
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                    4,   N)JIISTABLE INTEREST RATE A}.ID MONTHLY PAYMENT CHANGES
                         (A) Change Datee
                         The   lnitial hxed lnleres
                                                  rate I will pay will change lo an adJuslable inlerest rale on the first day of
                         DECEMBER, 201       1 and the adJustable interesl rale I will pay may change on thal day every lzlh
                                                  ,
                    month thereafter. The date on which my lnltlal flxed lnterest rate changes to an adJustable lnteresl rate,
                    and eadr date on whldr my adJustable inlerest rate could drange, Is called a "Change Date."

                         @) The Index
                         Beginnlng wlth      he first   Change Date, my adjustable lnterest rate   will be based on   an Index, The
                    "lndex" is lhe      of inlerbank offered rates lor one year U.S, dollar-denomlnated deposlts ln the
                                      average
                    london market ("LIBOR"), as published ln The Wll Steet Journal. The most recent Index flgure
                               ofthe dale 45 da),s before each Change Due ls called the. "Current Index".
                    avallable as
                         If          is no longer available, lhe Nqe Holder wlll choose a new index lhat is bred upon
                              the Index
                    comparable informalion. The Note Holder wlll give me notlce of this choice.

                         (C) Cahuhtkn ofChangcr
                        Before each Change Dale, the Note Holder will calculate my new tnlere$ rate by adding
                                      TWO AND ONE            QUARTER               percenlage polnts       (      2.?SO   %) ro
                    lhe Currenl Index. The Nole Holder wlll then round the result of this adiiltlon to the nearest one-elghth of
                    one percenlage polnt (0.125%). SubJect to ft€ limits slaled ln Sealon 4@) below, thts rounded amount
                    wlll be my new lnterest rate untll the next Change Date.

                         @)   Linitr m Iaterest Rate Changes
                                        I am requlred to pay at the flrst Change Date will not be grcater than 1 2.1 25 7o or
                         The lnleresl rale
                    less than 2.250 %. Thereafter, my adjusuble inlercsl lzte wltl never be lncreased or decreased on any
                    slngle Change Date by more lhan nrr6 peicentage polnts from the rate of interest I have been paylng for thi
                    prmedlng l2 monlhs. My lnterest rate will never be greater lhan 12.1?5 96 or less lhan 2.250 %.

                         @) Etroottvo Doto of Chargo3
                       My new lnteresl rale wlll become effecllve on each Change Date. I wlll pay the amounl of my new
                    monlhly laymenl beglnnlng on lhe firsl monthly payment date after the Change Date untlt the amount of
                    my montNy payrnent changes agaln.

                        (P) Notlca of Changoo
                        The Note Holder wlll dellver or mall lo me a notice of any changes ln my lnilial flxed lnterest rate to
                    an adJustable interesl rale an-d gf a1y changes in my adjustable interesi rate before the effective date of any
                    change. The notice wilt include lhe amounl of my monthly payment, any lnformation requlred by law t6
                    be $ven lo- me and also the fiile and telephone number of a person who will answer any guestion I may
                    have regarding lhe notlce.




                   Conv
                    . MULTISTATE FIXED/ADJUSTABLE RATE RIDER. WSJ One.Year LIBOR. Stngte Famly
                   INTEREST ONLY
                   FEa266       (0603)                   Pagezot 4                                                       **@-&/



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                     B. TRANSFER OF THE PROPERTY OR A BENEFICTAL TNTEREST TN BORROWER
                         I. UNTIL MY INITIAL INTEREST RATE CHANGES UNDER THE TERMS STATED ABOVE,
                     UNIFORM COVENANT I8 OF THE SECURITY INSTRUMENT IS DESCRIBED AS FOLLOWS:
                               Traasf€r oftbe Propcrty    q   a Beuefcial [Dt€reet in Borrower. As used tn this Sectlon 18,
                          "Inlerest ln the Property" means any legal or beneflclal lnlerest ln the Property, lncludlng, bul not
                          limtted lo, those beneflclal lnleresls lransferred ln a bond for deed, contracl for deed, lnstallmenl
                          sales conlracl or escnow agreemenl, the lnlent of whlch ls lhe transfer of tltle by Borrower al a
                          future date to a purchaser.
                               If all or any part of the Property or any Interesl ln the Properly ts sold or lransferred (or lf
                          Borrower ls not a nalural person and a beneflclal lnterest ln Borrower ls sold or tmnderred)
                          wlthoul Lender's pdor wrllten consenl, Lender may requlre lmmediale paymenl ln full of all sums
                          serurrd by this Seflrily Inslrurnenl, However, ftls oplion shall nol be exerclsed by Lender if such
                          exerclse is prohibiled by Appllcable Law.
                               lf Lender exercises this option, Lender shall glve Borrower notice of acceleration. The nodce
                          shall provide a period of not less Oan 30 days fmm the date the nolice is glven in accordance with
                          Section 15 within which Borrcwer mrlst pay all sums secured by thls Securlty lrstrument. If
                          Bortower falls to pay lhese sums prlor to the explratlon of thts perlod, Lender may invoke any
                          remedles permltled by ftls Securlly Inslrumenl wlthout further nollce or demand on Borrower.

                           2.   AFTER MY INITIAL INTEREST RATE CHANGES UNDER THE TERMS STATED ABOVE.
                     UNIFORM COVENANT 18 OF THE SECURITY INSTRUMENT DESCRIBED IN SECTION II(A)
                     ABOVE SHALL THEN CEASE TO BE IN EFFECT, AND UNTFORM COVENANT 18 OF THE
                     SECURITY INSTRUMENT SHALL INSTEAD BE DESCRIBED AS FOLLOWS:
                              Traasfsr of tho Prqerty or a BonoEcial Intorc8t b Bqrower. As used ln this Sectlon 18,
                          "Inleresl ln the Property" means any legal or beneficial lnlerest in lhe Property, lncludlng. but nol
                          llmlted to, lhose beneflclal lnaerests lransferred ln a bond for deed, conlract for deed, installment
                          sales conaracl or escrow agreement, the lntent of whlch ls lhe lransfer of tltle by Borower at a
                          future dale lo a purchaser.
                               If all or any parl of the Pmperty or any Interest ln the Pmperty ls sold or transfened (or if
                          Borrower ls nol a natural lrrson and a benellcial lnteresl ln Borrower ls sold or lransfcrrcd)
                          wllhoul Lender's prlor wrlllen consenl, Lender may requlre lmmedlate paymenl ln ftrll of all sums
                          secured by lhls Security Instrument. However. lhls opllon shall not be exerclsed by Lender lf such
                          exerclse ls prohlblted by Appllcable Law. Lender also shall not exerclse thls opllon           lfi (a)
                          Bomower causes lo be submltled lo Lender informatlon required by Lender lo evaluate the lntended
                          transferee as if   a new loan were being made lo lhe transfette; and (b) I-ender reasonably
                          determlnes thal Lender's securlly wlll not be lmpalred by the loan assumptlon and that the rlsk of a
                          breach of any covenanl or aSreemenl ln thls Securlty Inslrument ls acceptable to Lender.
                             To lhe exlent permltted by Appllcable Law, Lcnder mry charge a reasonable fee as a condltlon
                          to Lender's consenl lo lhe loan assumptlon. l.ender also may requlre the transfe]ee lo slgn          an
                                                               lo Lender and that obllgates lhe lransleree to keep all lhe
                          assumption agreemenl that ls acctptable
                          promlses and agreemenls made ln the Note and In thls Secrirlly lnslrumenl. Borrowcr wlll
                          continue lo be obligaled under lhe Note and this Securily Inslrumenl unles Lender releases
                          Bonower ln wrltlng,


                     Conv
                     .  MULTISTATE FIXED/ADJUSTABTE RATE RIDER - WSJ One-Year LIBOR - Slngle Family
                     INTEREST ONLY
                     tE4200 (0603)                         Page 3 of 4                                                   nn,..2?O




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                             If Lender exerclses the opllon to requlre Immedlate paymenl in full, Lcnder shall $ve Borrower
                        nollce of accderatlon. Tte notlce shall pmvlde a perlod of not less than 30 days fmm fte date the
                        lotlc-e ls glven ln accordance wlth Sectlon 15 wlthin whlch Borrower mus( pay all surns secured by
                        this Security Inslrumenl, If Borrower hlls to pay these sums prlor to the expirallon of this perlod-.
                        Lender may Invole any remedles permllted by lhls Securlty Instrument without hrrther nollce or
                        demand on Borrower.

                         BY SIGNING BELOW, Borrower accepls and                 agrGes   to the terms and covenants contalned ln thls
                     FixeilAdJustable Rate Rider.

                     I uodcrstrnd that for the Intcrest Only
                                                           Pcriod ny moathly pa!,tncnts will not reduce tho Principat
                     bolauco   omy losD. My moatbly palmcots oftc the lutorist Ooly Pcriod witl coeist of bitb
                     !r1nc!pa! EDd intcost rnd will be higher unlou I bave made edditimEl pa},m@tr to roduoo tlo
                     Principal brlanco.



                                                                -BolTowot                                                     Bdrcult



                                                               -Bontrtver                                                    -Borrorver




                                                                .   Borrower
                                                                                                                -----JSeal)
                                                                                                                         -BorrDu/E




                                                                      ,e^. r)
                                                                -BorowEt                                        ------{Seal)-BofIowet

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                     'Jvtu_LTtsTaTE FIXED/ADJUSTABLE RATE            RTDER -    WSJ One.year     LTBOR   - Singte Family
                     INTEREST ONLY
                     Ea20E     (0603)                                  Page 4 of 4




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                DESCRIPTIOl{

                Al that cerbin land sltuated ln the unlncorporated area of the County ol SOllOl,lA, State of Calliornla,   and
                descrlbed   a   tullows:

                BErNG A PORTTON OF LOT 1{O. I OF P}UIIIPS SUBDnllsION FITED MARCH 22, 1E89, Ar{D MORE
                PARTICULIRLY DESCRIBED AS F0LLOWS!

               BEGINI{ING AT T}lE INTERSECION OF STOI{Y POtilT ROAD AtD BUTLER AVENUB SAID FOINT
               BEING THE SOUTHEAST CORNER OF SAID LOT ilo. 1; THEI{CE FROU THESAID POIilT OF
               BEGII{NING AIID ALONG THE CENTERUTIE OF BUTLER AVENUE WEST 179.19 FEET, THENCE iloRfH
               OO 18' 20" EAST 30 FEET TO A U2" IROI{ PIPE ON THE T{ORTHERIY EDGE OF SAID BUTLER AVENUE
               SAID POII{T BEITG THE TRUE POIIIT OF BEGTTTilITIG OF THE PARCEL OF I.IND fO BE }IEREITI
               DESCR,IBED; THENCE WEST Al{D ALOI{G THE TIORT}IERN UTTIE OF SAID BUTLER AVENUE 386.68
               FEET TO THE SOUTHENST GORI{ER OF T}IE PARCEL OF LAilD CONVEYED TO IRL E. DENt{tSOil AND
               RUTH P. DEilITISOI{, HIS UUIFE, DATED SEPTEITTBER tt, 196t, At{D RECORDED SEPTEiTBER 20,
               r96L tI{ LIBER 1846 OF OFFICIAI RECORDS, p GE 4tZ REOORDER'S SERIAL 1{O. c-6413E,
               SOl{OltIA COUIITY REOORDS; THENCE T{ORTH OO 35'WCST AT{D ALOT{G T}IE EASTERT{ LINE OF SAID
               DEI{IllSTOil'S PARCEL A DISIAI{CE OF 4t1.21 FEEri THEilCE I{ORTH 89o 47'30" EASTAIID ALONG
               THE CENTER II]IE OF SAID LOT T,4O{.:'8 FEET TO THE T{ORTHWS'T CORTIER OF THE PARCEL OF
               IAND GONVEYED TO JOSEPH S. ANDRUS A]{D }IILDRED LAVO]{]{E ANDRUS, }IIs WIFE, DATED JUIY
               7, 1960 AND RECORDED SEPTEUBER Zt, 1960 AND RECOROEO SEPTETBER 23, 1960, rN LIBER
               1785 OF OFFTGIAL REGORDS, PAGE ZtZ REGORDER'S SERUtt NO. G-24?00, SOilOitA COUNTY
               RECORDS, THETICE SOUTH A]ID ALOT{G T}IE WESTERN LIilE OF SAID ANDRI,S PARCEL OF
               FOLIOWIilG COURSES AND DISTAT{CES SOUTH O" 24'30" EAST r9z8l FEETTO A r/2 r{CH rROil
               PIPE, THENCE NORTH 89O 4I'40" WEST 20.25 FEET TO A U2 IT{CH IRON PIPE; THENCE SOUTH OO
               t8' 20" WEST 29.70 FEET TO A 1/2 IilClt IRON pIpE, THENCE NORTH 89o 4t' .00" WEST 14.87 FEET
               TO A T/2 I]IGH IROII PIPE, THETCE SIOUTH OC 18' 20" WEST 57.56 FEET TO A U2 II{CH IROTI PIPE;
               TllEl{CE SOUT}I Egc 4l' 40' EAST 14.87 FEET TO A r/2 Ii{C}l IROI{ PIPE; THEI{CE SOUTll Oc 18' 20'
               WEST 80.57 FEET TO THE TRUE POII{T OF BEGIIINING.


               APN No:   !34-061-026-000




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EXHIBIT 5
                                                                                    *tThis documnt hras electronically submitted
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                                                                                       to the County of Sonom for recording+*
                                                                                        20L8046059
                                                                                    Official       Records    of    Sonoma County
                                                                                    William F.          Rousseau
Recording r€quested by:                                                             O6/27/2O18 O2iO4          Pl4
HotAtrlen       tblQego Sot.oons                                                    FIRST AMERICAN MORTGAGE SOLUTIONS -

And when recorded mail !o:                                                          TDEED     4   Pgs

                                                                                    Fee: $98.oo
Bayview Loan Servicin g, LLC
4425 Ponce de Leon Blvd
5th FtMailroom
Coral Gables, FL 33146


Forward tax statements to the address given above



                                                                                           Space above this line for recorders use




                               Corrective Trustee's Deed Upon Sale
**,'THIS DOCUMENT IS BEING RECORDED TO CORRECT THE VESTING ON THE
TRUSTEE'S DEED UPON SALE TIIAT RECORDED ON O6DII2OIT AS INSTRUMENT
NUMBER 2018044649"'""

 A.P.N. : I 34-06 I -026-000


Exempt pursuant to Cal Rev and Tax Code $l 1926

 THE UNDERSIGNED GRANTOR DECLARES:
 The Grantee Herein lS the Foreclosing Beneficiary
 The amount of the unpaid debt together with costs was:                                                             $640,544.46
 The amount paid by the grantee at the trustee sale was:                                                            $640,544.46
 The documentary transfer tax is:                                                                                       NONE
 Said property is in Ore City   of: SANTA ROSA, County of SONOMA

QUALITY LOAN SERVICE CORPORATION , as Trustee, (whereas so designated in the Deed of                                        Trust
hereunder more particularly described or as duly appointed Trustee) does hereby GRANT and CONVEY to

BAYVTEW LOAN SERV|C|NC, LLC

                                                              fAIlCO submlb ttrls docnmfiilbr
                                                            ,Eoordctior os o cou,tesy for physlcol
                                                              oonvenienca only. tAIl@ hos nof
                                                           qomined tfiis rhcum€nthlb rotidil,
 ll/hen recorded mail and send tax statement to:           rufficiency, c elfec{, ll orry, upon fr'[e
                                                                                                  6
 Bayview Loan Servicing, LLC                                  lho rcol p(eertydegsiM herelrr
 4425 Ponce de Leon Blvd
5th FlMailroom
Coral Gables , FL 33146
(herein called Grantee) but without covenant or warranty, expressed or implied, all right title and interest conveyed
to and now held by it as Trustee under the Deed of Trust in and to the property situated in the county of SONOMA,
State of California, described as follows:




 BEING A PORTION OF LOT NO. I OF PHTLLIPS SUBDIyIS|ON FILED MARCH 22,lEEg, AND MORE
 PARTICULARLY DESCRIBED AS FOLLOWS: BEGINNING AT THE INTERSECTTON OF STONY
 POINT ROAD AND BUTLER AVENUE, SAID POINT BEING THE SOUTHEAST CORNER OF SAID
 LOT NO. I; THENCE FROM THE SAID POINT OF BEGINNING AND ALONG THE CENTERLINE OF
 BUTLER AVENUE WEST 179,19 FEET; THENCE NORTH 0olE' 20rr EAST 30 FEET TO A t/2" IRON
 PIPE ON THE NORTHERLY EDGE OF SAID BUTLER AVENUE SAID POINT BEING THE TRUE
POINT OF BEGINNING OF THE PARCEL OF LAND TO BE HEREIN DESCRIBED; THENCE WEST
AND ALONG THE NORTHERN LINE OF SAID BUTLER AVENUE 3t6.68 FEET TO THE
SOUTHEAST CORNER OF THE PARCEL OF LAND CONVEYED TO IRL E. DENNISON AND RUTH
P. DENNISON, HIS WIFE,DATED SEPTEMBER II,I96I, AND RECORDED SEPTEMBER 20, T96I, IN
LIBER 1846 OF OFFICIAL RECORDS, PAGE 4t7, RECORDER'S SERTAL NO.c-64t3E, SONOMA
COUNTY RECORDS;THENCE NORTH 0035' WEST AND ALONG THE EASTERN LINE OF SAID
DENNISTON'S PARCEL A DISTANCE OF 4tl.2lFEET;THENCE NORTH 89047' 30" EAST AND
ALONG THE CENTER LINE OF SAID LOT r,404.3E FEET TO THE NORTHWEST CORNER OF THE
PARCEL OF LAND CONVEYED TO JOSEPH S.ANDRUS AND MILDRED LAVONNE ANDRUS,HIS
WIFE,DATED JULY 7,1960 AND RECORDED SEPTEMBER 23,1960 AND RECORDED SEPTEMBER
23,1960, lN LIBER t785 OF OFFICIAL RECORDS,PAGE 237,RECORDER'S SERTAL NO.G-24700,
SONOMA COUNTY RECORDS; THENCE SOUTH AND ALONG THE WESTERN LINE OF SAID
ANDRUS PARCEL OF FOLLOWING COURSES AND DISTANCES SOUTH O 24' 3O'' EAST I92.8I
FEET TO A l/2 INCH IRON PIPE;THENCE NORTH E9o4l'40" WEST 20.25 FEET TO A t/2 INCH
IRON PIPE; THENCE SOUTH 0olE' 20" WEST 29.70 FEET TO A ll2INCH IRON PIPE; THENCE
NORTH t9o4l' 40" WEST 14.E7 FEET TO A ll2INCH IRON PIPE; THENCE SOUTH OolS'20" WEST
57.56 FEET TO A ll2INCH IRON PIPE; THENCE SOUTH E9o4l' 40" EAST 14.E7 FEET TO A t/2 INCH
IRON PIPE;THENCE SOUTH OOTT' 2O'' WEST 130.57 FEET TO THE TRUE POINT OF BEGINNING.

This conveyance is made in compliance with the terms and provisions of the Deed of Trust executed by 50o/o interest
holders, BILL F. CILEO AND PAULA M. CILEO, HUSBAND AND WIFE AS JOINT TENANTS, as trustor,
dated I 111312006, and recorded on 1112212006 as instrument number 2006145823 of Official Records in the office
of the Recorder of SONOMA, California, under the authority and powers vested in the Trustee designated in the
Deed of Trust or as the duly appointed trustee, default having occurred under the Deed of Trust pursuant to the
Notice of Breach and Election to Sell under the Deed of Trust recorded on 1011312017, instrument no 2017079608,
Book xx, Page xx, of Official records. The Trustee of record at the relevant time having complied with all applicable
statutory requirements of the State of California and performed all duties required by the Deed of Trust including
sending a Notice of Default and Election to Sell within ten/thirty days after its recording and a Notice of Sale at least
twenty days prior to the Sale Date by certified mail, postage pre-paid to each person entitled to notice in compliance
with California Civil Code2924b.

Default occurred as set forth in a Notice   of Breach and Election to Sell which was recorded in the ofTice of the
Recorder of said County.


 When recorded mail and send tax slatemenl to:
 Bayview Loan Servicing, LLC
 4425 Ponce de Leon Blvd
 5th FlMailroom
 Coral Gables, FL 33146
All   requirements   of law regarding the mailing of copies of notices or the publication of a copy of the Notice of
Breach and Election to Sell or the personal delivery of the copy of the Notice of Breach and Election to Setl and the
posting and publication of copies of the Notice of Sale have been complied with.

Said property was sold by said Trustee at public auction on 6l4t20lt at the place named in the Notice of Sale, in the
County of SONOMA, Califomia, in which the property is situated. The foreclosing beneficiary, being the higgest at
such sale, became the purchaser of said property and paid therefore to said trustee the amount being $640,5 44,46 in
lawful money of the United States, or by the satisfaction, pro tanto, of the obligations then secured by said Deed of
Trust and instructed said trustee to vest this Trustee's Deed Upon Sale to said Grantee




When recorded mail and send tax stotement lo:
Bayview Loan Servicing, LLC
4425 Ponce de Leon Blvd
5th FlMailroom
Coral Gables, FL 33146
QUALITY MAY BE CONSIDERED A DEBT COLLECTOR ATTEMPTING TO COLLECT
A DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.



Date: b                                                 QUALTTY LOAN                 CORPORATION
            l* lu,g                                                          S



                                                                                 ,1.-.-
                                                        By:            let           Vice President

A notary public or other officer completing this certificate verifies only the identity of the individual who signed
the document to which this certificate is attached, and not the truthfulness, accuracy, or validity of ftat document.



State   of: California)
County of: San Dieso)


o,          jul{ 2.6 2010                  before me,   -        Katherine A.    D"ril-   a norary pubric, personary
,pp                                                 ;                                    isfactory evidence to be the
person(s) iihose name(s) is/are subscribed to the within instrument and acknowledged to me that he/sheithey
executed the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument
the person(s), orthe entity upon behalfofwhich the person(s) acted, executed the instrument.



I cetifr under PENALTY OF PENURY under the laws of the State of California that the foregoing paragraph is
true and correct.


WITNESS my                oflicial seal.                      (Seal)

                                                                                           I(ATHERINE A.

                                                                                                                       v-
                                                                                           coMM. #2095358
Signature                                                                                 Notary Public . Calilornia
                                                                                             San
                                                                                                                       o
                                                                                                          Dec.
SUPERIOR COURT OF CALIF'ORNIA                                                 (FOR COURT USE ONLY)
COUNTY OF SONOMA
CIVIL DIVISION                                                                   FILED
600 ADMINTSTRATION DRIVE, ROOM IO7-J                                                 03n01202t
SANTA ROSA, CALIFORNIA 95403.2878
                                                                           SUPERIOR COURT OF CALIFORNIA
(707) s2t-6s00                                                                  COLINTY OF SONOMA
sonoma.courts.ca.gov
                                                                        Bv: CuwthLa daddLe
                                                                              Cynthia Caddie, Deputy Clerk


               BAYVIEW LOAN SERYICING, LLC
                                   vs                                              Case number:
                              STANLEY                                               scv-266245

            NOTICE OF MANDATORY SETTLEMENT
                  CONFERENCE AND TRIAL

         YOU ARE NOTIFIED THAT PROCEEDINGS WILL BE HELD AS FOLLOWS:

                                         Mandatorv Settlem ent Conference:
        The case is ordered to participate in a mandatory settlement conference no later than 30 days
prior to trial. Counsel for Plaintiff(s) is ordered to contact the Sonoma County Bar Association within 5
days to request the name of the next available settlement panelist and to contact the panelist within 5
days for scheduling. The panelist will then be responsible for scheduling the settlement conference and
obtaining settlement briefs from the par:ties.

       Parties are to Contact the Sonoma County Bar Association for referral to a settlement
conference panelist. Please contact Win Rogers by sending an email to Win@,SonomaCountyBar.org.
Altematively, you may call Ann at the SCBA front desk at(707) 542-1190 ext. 100, and she will
forward your information to Win.


                                                      Trial:
         Date: August27,202l
         Time: 8:30 a.m.
         Courtroom: 16
         Location: Empire Annex, 3035 Cleveland Avenue, Suite 200, Santa Rosa CA 95403

 l.   Please see the attached Trial Orders of the Court

      Date: 3ll0l202l
                                                      Arlene Junior
                                                      Clerk of the Court


                                                      Bv: cunthla aaddie
                                                             -- Gaddie, Deputy Clerk
                                                          Cynthia

* ATTACHMENT_ AS TNDICATED:
- ProofofService
- Trial Orders of the Court
                                                                                         scv-26624s
                                      PROOF OF SERVICE BY        MAIL

               I certifi that I am an employee of the Superior Court of California, County of Sonoma,
       and that my business address is 600 Administration Drive, Room 107-J, Santa Rosa, California,
       95403; that I am not a party to this case; that I am over the age of 18 years; that I am readily
       familiar with this office's practice for collection and processing of correspondence for mailing
       with the United States Postal Service; and that on the date shown below I placed a true copy of
       the Notice of Mandatory Settlement Conference and Trial and noted attachments in an
       envelope, sealed and addressed as shown below, for collection and mailing at Santa Rosa,
       California, first class, postage fully prepaid, following ordinary business practices.

       Date: 3ll0l202l
                                                    Arlene Junior
                                                    Clerk of the Court


                                                    By: Cunthla aaddie
                                                    Cynthia Gaddie, Deputy Clerk

                                              -ADDRESSEES.


Dave Stanley                                           Lisa J Stanley
815 Butler Ave                                         4949 SnyderLane#144
Santa Rosa   CA   95407                                Rohnert Park CA 94928


Seth Michael Harris
McCarthy & Holthus LLP
2763 Carnino Del Rio South Ste 100
San Diego CA 92108
                                                                                             scv-266245


Case     Name:       Bayview Loan Servicing, LLC v. Stanley

Case     Number:     SCV-266245

Party Filing:


                        SONOMA COT'NTY SUPERIOR COURT
                                COURTROOM 16
                                      3035 Cleveland Avenue
                                      Santa Rosa, CA 95403
                                          (707) s2t-6729

                                     (Effective January L 2A2l)

Judge Patrick M. Broderick
Judicial Assistant, Cindy Gaddie (707) 521-6729
Courtroom Clerk, Lauren Plazola
Court Reporter, Teri Hosmer (707) 521-6539

                         TRIAL ORDERS OF THE COURT
The court admonishes the parties and the attorneys that strict compliance with the Sonoma
County Local Rules of Court and the California Rules of Court will be required.

A.       TIME FOR FILING TRIAL DOCUMENTS
1. All attorneys of record and any uffepresented parties must meet and confer, at least seven
court days before the Friday on which the case is set for trial, concerning each of the topics
discussed in the next paragraph and those discussed in section "[" below.

The Court requires the following documents to be electronically filed ("eFiled") pursuant to
Local Rule 18.22: proposed jtry voir dire by the court, any proposed jury questionnaires, joint
list of trial witnesses, joint estimate of trial time, joint neutral statement of the case, all motions
in limine, and any written opposition to a motion in limine [see also section D below re motions
in limine], identification of any deposition testimony involving an unavailable witness, each
party's list of proposed CACI Jury Instructions, content and number, proposed special jury
instructions, and proposed verdict forms. A courtesy copy must be delivered to the drop box for
the assigned department.

         Initial Filings - on the sixth court day preceding trial, by 3:30 p.m.     8-11- vcvt
         Reply Filings - on the third court day preceding trial, by 3:30   p.^. I -Z'F ZD>)
2. Signed copies of these Trial Orders shall also be eFiled on the sixth court day preceding the
Friday trial date, with a courtesy copy to the drop box for the assigned department

3.   The first day of trial is the Friday date as shown on the Notice of Settlement Conference and
Trial.

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                                                                                            scv-266245


4. Any trial brief shallbe eFiled no later than 3:30 p.m. six court days preceding the Friday trial
date, with a courtesy copy to the drop box for the assigned department

5. All parties or their attorneys shall jointly'submit to the judicial assistant or the courtroom
clerk of the trial judge one original trial binder before 3:30 p.m. on the sixth court day
immediately preceding the date first set for trial. The trial binder shall contain all operative
pleadings, all motions in limine, a statement of the case, a joint witness list, trial briefs, special
voir dire questions, all CACI and special jury instructions requested, all proposed verdict forms,
and the signed Trial Orders of the Court. The binder shall have a table of contents and
corresponding tabs.

B.        GENERAL MATTERS

l.    Pursuant to Local Rule 18.22, all documents presented for filing shall be eFiled.

2. Courtroom 16 conducts other court or chamber matters on Mondays. Both bench and jury
trials will normally be in session Tuesday through Friday. The trial sessions typically commence
at 8:30 a.m. and continue until 1:30 p.m., with 2 scheduled 20 minute breaks. [mportantly, the
parties must tell the court about any commitments which may require a modification of this
schedule.

3. If an attorney or self-represented litigant is unexpectedly prevented from appearing on time
at any scheduled court session, he or she should call Judge Broderick'sjudicial assistant at(707)
521-6729.

4. The court should be informed in advance of any unusual legal issues or evidentiary issues
and/or problems that are anticipated during the trial that are not addressed by a motion in limine.

5. The parties  shall meet and confer regarding all possible factual stipulations on uncontroverted
matters and reduce such stipulations to writing so that they can be read into the record. Further,
parties should inform the court of any documents as to which authentication is not disputed and
will be waived.

6. Faxing or emailing to court chambers      or the court's judicial assistant is NOT permitted
without prior approval from the court. If an approval is granted, it shall apply for one-use only.
Documents which are permitted to be faxed will be deemed courtesy copies only and will not be
filed unless there is a stipulation by all parties, found to be acceptable by the court.

7. The parties should   discuss and inform the court if they are willing to agree to the stipulations
attached to this order, including but not limited to the following:

          a. Waiving the statutory language of the admonition to the   jury at separation. (Penal Code
section I122; Code of CivilProcedure section 6l     l)
          b. Waiving the judge's pronouncement of the presence of the attorneys, the parties, and
the   jurors at the commencement of each court session.

8. In all legal   memoranda, only official citations need be used.




                                               Page 2   of8
                                                                                          scv-266245


 9. COURTESY TOWARDS EVERYONE IN THE COURTROOM                       IS REQUIRED WITHOUT
 EXCEPTION. Counsel is expected to familiarize themselves with the Guideiines of Civility
                                                                                          and
 Professionalism promulgated by the California Bar Association and is expected to conduct
 themselves in accordance with the Guidelines.

 C.     EXHIBITS

 1. All trial exhibits shall be exchanged between the parties before the trial call of the case,
except for impeachment documents. The parties shall meet and confer, at least 48 hours
                                                                                             before
the trial date in order to determine whether any objection will be made to each exhibit,
                                                                                            except
those to be used solely for the purpose of impeachment. Also, the parties shall ascertain
                                                                                             which of
the exhibits may be admitted into evidence by stipulation. No latei than the day that
                                                                                         motions in
limine are heard all exhibits that are designed to be used in the opening statemlnts shall be
exchanged among all parties. Disputes will be resolved by the juhge aithat time.

2. AII of the documents submitted to the court as trial exhibits shall consist of one original and
one copy for use by the court. The copies shall be stamped in red as a "copy." All exhibits shall
be submitted by placing them in the drop box for the assigned department.


1 M"l presenting an exhibit to be marked for identification, please give the courtroom clerk a
description of the exhibit and then allow enough time for it to be markid and for the courtroom
clerk to announce the marking for the record.

4. Unless otherwise ordered by the court, any party seeking to offer into evidence a sound or a
sound and video recording of a deposition or other prior testimony must comply with California
Rules of Court, rule 2.1040, and if offering a videotaped deposition, also with Code of Civil
Procedure section 2025.340(m). The original of all deposititn transcripts must be lodged with
the courtroom clerk when the deposition is to be usedln court.

D.      MOTIONS IN LIMINE

All motions in limine shall   be prepared and   filed as follows:

 l. Format: The title of each motion shall identifu the moving party and describe the nature of the
motion, and shall be numbered sequentially, indicating the totil number of motions submitted by
the moving party. For example: "PlaintiffJane Doe's Motion in Limine to Exclude the
Testimony of Joe Expert [#l of 6]." Written opposition, if any, shall identiff both the party filing
the opposition and the specific motion that is being opposed by the name of th. moving party
with the motion number. For example: "Defendant Richard Roe's Opposition to plaintiff Jane
Doe's Motion in Limine [#l of 6]."

2.  Scope: For motions in limine other than those expressly authorizedby the Evidence Code,
counsel is directed to Campainv. Safeway Stores, Inc. (1972) 29 Cal.App.3d362; Kelly v. New
llest Fed. Sav. (1996) 49 Cal.App .4th 659; Amtower v. photon Dynamiis,lrc. (200g) 15g
Cal.App.4th 1582; andKindav. Carpenter(2016)247 Cal.App.4,thl26swithregardtothe
proper scope of motions in limine. Generally, motions for judgment on the pleadings, leave to
amend, motions for summary adjudication and/or summary judglnent, or bifurcation are not in
limine motions and should not be filed as such.



                                                Page 3   of8
                                                                                             scv-266245



3. The following motions shall be deemed hled, served and granted unless good cause is
otherwise shown by counsel's declaration and request for hearing: (l) all non-party witnesses are
excluded from the courtroom until called to testify; (2) all references to settlement negotiations,
mediation, and materials related thereto that are privileged under the Califomia Evidence Code
are excluded; (3) all references to insurance, or the fact that an attorney is employed by, or has
been compensated by,      * insurance company are excluded; (4) all references to and evidence of
other claims or actions against any party to the litigation are excluded; and, (5) all references to
the financial position of any party are excluded.

E.       DEPOSITIONS AND DISCOVERY

If portions of deposition testimony,    requests for admissions, interrogatory responses, or any other
discovery responses are to be used in lieu of live testimony at trial, the excerpts to be used shall
be clearly identified for all parties. The parties shall then meet and confer to attempt to resolve
any evidentiary objections before these discovery responses are read into evidence at trial.

F.       WITNESSES AND SCHEDULING

l. If trial is to be by jury, the parties shall provide the courtroom clerk and the court reporter
with copies of the joint witness list. Please advise the court reporter of any unusual spellings of
nzunes, places, or technical terms.

2. THE PARTIES ARE HEREBY ADVISED THAT THE COURT INTENDS TO UTILIZE
ALL AVAILABLE TRIAL TIME. PARTIES SHALL MAKE CERTAIN THERE ARE NO
GAPS IN THE PRESENTATION OF EVIDENCE. IN THE EVENT THAT A PARTY IS NOT
PREPARED TO PROCEED DURING TRIAL, THE COURT MAY DEEM THAT PARTY
HAS RESTED, ABSENT A SHOWTNG OF GOOD CAUSE.

G. JURY SELECTION
l. In civil cases, the parties requesting ajury shall have on deposit the first day's jury fees with
the clerk in accordance with Code of Civil Procedure section 631 . The parties shall make
arrangements with the courtroom clerk immediately preceding trial for the daily deposit of fees
for both the jury and the court reporter.

2.   Based on the Judicial Council standards for jury voir dire, the judge will begin the
questioning of prospective  jurors. The parties shall submit in writing any specific questions, or
areas of inquiry, not contained in the Judicial Council standards on which they would like the
court to inquire.

After the court's inquiry, the parties will have an opportunity to voir dire prospective jurors,
subject to the following:

         a. The   voir dire by the parties will be subject to reasonable time limits set by the court;

         b. The parties may not repeat or rephrase questions which the court has already asked;

         c. Pre-instructions, pre-argument, and suggestive questions     will not be permitted,   unless
         the court determines otherwise upon request;



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                                                                                             scv-266245


          d. All challenges for cause will   be expressed at the side bar or otherwise outside the
          presence of the jury panel;

          e.All $eneral questions should be asked to the panel at large, rather.than repeating such
          questions to eachjuror; and

          f. The court exclusively inquires regarding hardships and schedules.

3. The    appropriate number of peremptory challenges per side      will   be discussed and ruled upon
prior to trial.

4. The court generally    prefers that two alternate jurors are selected. In the longer cases the court
will eonsider selecting   a greater number of altemates. If it becomes necessary to substitute an
alternate juror, the alternate will be chosen by lot unless counsel stipulate to number the
alternates and substitute them in order. (Code of Civil Procedure section 234; People v.
Armendariz (1984) 37 Cal.3d 573, 581 n7.)

H.        CONDUCT OFTRIAL

I . The   FIRST day of trial is the Friday shown on the Notice of Settlement Conference and Trial.

2. The cowt is available for settlement discussions prior to trial or at any time during trial. If the
parties wish to pursue settlement further with another judge, the proceedings riray be suspended,
as determined by the court, so that such discussions can proceed forthwith.

3. No dernonstrative exhibits,   charts, diagrams or enlargements shall be placed within sight of
the   jury unless previously shown to the opposing party, marked for identification, and approved
by the court.

4. Arguments on points of law or evidentiary matters shall be made out of the presence of the
jury. When objections or responses to objections are made, only the legal basis of the objection
 or exception may be stated in open court in the presence of the jury.

5. Conferences at the bench or sidebar will normally be offthe record. If any pafiy wants to
place a matter discussed at sidebar on the record, he or she may so request and those proceedings
will be conducted on the record, either immediately or at the next available opportunity.

6. As noted above,   the parties have full responsibility to arrange for the appearance of witnesses
so as to eliminate any trial delays. The court asks that the parties confer every day throughout
trial about the upcoming witnesses to avoid delays. The court should be informed about
witnesses to be called out of order.

7. Transcripts of testimony may be ordered from the court reporter. The fees for such transcripts
are generally deposited in advance upon an estimate by the reporter. All transcripts prepared by
the court reporter for either side will be available to the opposing side and to the public

8. The parties should never, in the presence of the jury, ask the court reporter to mark or to flag a
witness's answer to a particular question. lnstead, the party should note the time and subject
matter of the testimony and then inform the court reporter unobtrusively at the next court recess.



                                                 Page 5   of8
                                                                                            scv-266245


This is intended to prevent the use of "marking" as a device for attracting the jury's attention to
certain testimony.

I.      JURY INSTRUCTIONS

1. The court pre-instructs the jury as to preliminary matters immediately before opening
statements, and finally instructs immediately before closing arguments, unless the parties     agree
on another procedure. Written instructions are provided to the jurors when they retire for
deliberation.

2. In all jury   cases, each party shall submit all jury instructions disclosed by the pleadings six
court days prior to the first day of trial. tt should be remembered that an early filing of a list of
CACI instructions is required under section "A" above.

3. Before conclusion of the trial, the parties must jointly review the proposed jury    instructions to
preclude submission of duplicate instructions to the court and to advise the court of agreement or
disagreements about particular submitted instructions.

4. tf the parties wish to submit instructions which       are not found in CACI, they should provide
such instructions on plain paper, without displaying either a parry or firm name. Any special
instructions should be submitted in digital form on a CD as a Word document, along with the
hard copy.

5. Parties requesting      of special verdicts or answers to special interrogatories must furnish to
                         use
the court and to the other side the proposed forms of verdict or the interrogatories.

J.         JURY DELIBERATIONS

Counsel and parties are not required to remain in the courtroom during jury deliberations;
however, it is the parties' responsibility to keep the courtroom clerk and bailifffully informed as
to where they can be located at all times, including during the noon hour. The parties and the
lawyers will be expected to return to the courtroom within 20 minutes after being notihed to do
so. Cell phone contact numbers, if available, are to be provided to the courtroom clerk. The
numbers will not be disclosed.

K.         AFTER TRIAL

 l. If a special verdict is rendered by the jury, the prevailing party shall prepare the proposed
judgment, unless the court instructs to the contrary. The proposed judgment shall be submitted
 on the next court day after the trial has been concluded.

2.   Counsel should make arrangements with the courtroom clerk to withdraw exhibits.

3. The parties and the lawyers  are free to discuss the case with jurors after the trial, with each
juror's permission; however, no one may berate a juror for his or her verdict, or reveal evidence
 which was not admitted at the trial. When communicating with jurors after they have returned a
 verdict, under no circumstances are litigants or counsel permitted to criticize the jurors or their
verdict.




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I




    4. "Thank you" letters to the trial jurors are not favored.The lawyers can thank the jurors during
    the closing argument, or while they are stilt assembled. The court sends a "thank you" letter
    expressing the gratitude ofall parties for thejurors' service.

    5. In accordance with Local Rule 4.17, at the time of filing, post-trial documents including, but
    not limited to, post-trial motions, opposition and replies, the parties shall deliver courtesy copies
    of the filed documents directly to the trial department's drop box.

    I have reviewed and understand the foregoing orders.



           Date                                              Counsel for Plaintiff



           Date                                              Counsel for Plaintiff



           Date                                              Counsel for Defendant



           Date                                              Counsel for Defendant



           Date                                              Counsel for Cross-Complainant



           Date                                              Counsel for Cross-Defendant




                                                  Page 7   of8
I                                                                                                   scv-266245




                                      PROCEDURAL STIPULATIONS



    Case No.:                         Case Name:



    It is hereby stipulated    by the respective parties in the above entitled action:

                                                                                Please   Initial

                                                                                Counsel for        Counsel for
                                                                                Plaintiff          Defendant
    l. That, unless called to the court's attention, all of the jurors shall
    be deemed to be in thejury box and in their designated seats upon
    the reconvening of court following each recess or adjournment.

    2. That after giving the admonition required by Code of Civil
    Procedure section 6l l, the judge needs not repeat the admonition
    at each subsequent recess or adjournment.

    3. That the parties and the lawyers need not be present when,
    during jury deliberations, jurors go to lunch, retum from lunch, are
    discharged in the evening, and resume work in the moming.

    4.That the approved ju.y instructions and admitted trial exhibits
    may go into the jury room during deliberations.

    5. That  during jury deliberations the jury may recess without any
    further admonition and without going back into the jury box and
    that they may resume deliberations upon the bailiff s
    determination that all jurors are present.

    6. That in the absence of the trial judge, the verdict may be
    received by any judge of this court.

    7. That upon order of the court all of the trial exhibits will be
    returned to the attorneys after the trial is over for safekeeping until
    the time for appeal has expired.

    8. That   at the conclusion of the trial all questionnaires shall be
    immediately deshoyed.



              Counsel for Plaintiff                                        Counsel for Defendant

    Date:                                                      Date




                                                    Page 8   of8
    SUPERIOR COURT OF CALIFO                   COUNTY OF SONOMA                                           (FOR COURT USE ONLY)
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    ctvrL DtvtstoN
    600 ADMINISTRATION DRIVE, ROOM 107-J                                                                ENDORSED
    SANTA ROSA, CALIFORNIA 95403.2878                                                                     FILED
    (707) 521-6500
    www.sonoma.courts.ca,gov                                                                               APR   I 5 zun
                                                                                                    SIJPERIOR COURI OF   GAtIruRilN
                                                                                                         cot f{IY oFsotrroMA
    Bayview Loan Servicing, LLC vs Stanley


        NOTICE OF ASSIGNMENT TO ONE JUDGE FOR ALL PURPOSES,                                        Case number:
              NOTICE OF CASE MANAGEMENT CONFERENCE,
                      and ORDER TO SHOW CAUSE                                                      scv-266245

                      A COPY OF THIS NOTICE MUST BE SERVED WITH    SUMMONS AND COMPLAINT
                                          AND WITH ANY CROSS.CO]UPLAINT

    1. THIS ACTION lS ASSIGNED TO HON. Patrlck Broderlck FOR ALL PURPOSES.
    Pursuant to California Rules of Court, Rule 2.1 11(71, the assigned judge's name must appear below
    the number of the case and the nature of the paper on the first page of each paper presented for
    filing.
    2. EACH DEFENDANT MUST FILE A WRITTEN RESPONSE TO THE COMPI-AINT AS REQUIRED BY THE
    SUMMONS.
                      A Case Ma        Conference has'been set at the time and lace indicated below:
             Date: 0911512020                  Time: 3:00 PM                  Courtroom 16
             Location: Empire College Court Annex
             3035 Cleveland Avenue
             Santa Rosa, CA 95403

    3. No later than 15 calendar days before the date set for the case management conference or
    review, each party must file a case management statement [Judicial Council form #CM-1 101 and
    serve it on all other parties in the case. ln lieu of each party's filing a separate case management
    statement, any two or more parties may file a joint statement.
    4. At the conference, counsel for each party and each self-represented party must appear personally
    or by teiephone [California Rules of Court, Rule 3.670(cX2)l; must be familiar with the case; and must
    be prepared to discuss and commit to the party's position on the issues listed in California Rules of
    Court, Rule 3.727.
    5. Pre-approved dispositions are recorded three (3) court days prior to the case management
    conference. These may be obtained by calling (7071521-6883 or by going to
    http://sonoma. courts. ca. gov/on line-services/tentative-rulings.

                                          ORDER TO SHOW CAUSE
    To Plaintitf(s), Cross-complainants, and/or their attorneys of record:
    lf, on the date shown above, you are not in compliance with the requirements stated in the California
    Rules of Court, rules 2.30, 3.110, and/or 3.720 through 3.771 inclusive, you rnust then and there
    show cause why this court should not impose monetary and/or terminating sanctions in this matter.

    Pursuant to California Rule of Court, rule 3.221(b), information and forms related to Alternative Dispute
    Resolution are available on the Court's website at http://sonoma.courts.ca.gov/self-help/adr.




    CV-l [Rev. May 17, 20191   NTC OF ASSIGNMENT OF   l   JUDGE FOR ALt PURPOSES, NTC OF CMC & OSC
                                                 CRg RuLr 3.110, 3.72G3.730; CCPS5177.5, 583.410
r
:
Y        ELECTRON!C SERVICE OF DOCUMENTS
                    Enabled by local Rule 18.16

         Voluntary e-service is available in Sonoma County. The Court has pre-approved a Stipulation for cases in which
         the attorneys or parties choose e-service. A copy of the Stipulation is available under the "Civil" section in the
         "Division" tab of the Court website: http://www.sonoma.courts.ca.gov. The advantages of e-service to the parties
         include:

                                  Save   Morw             Reduction in costs related to photocopying, retrieving, storing,
                                                          messenger and postage fees. No special software is needed to use e-
                                                          service

                                    Sevr Trme             lnstant service of your documents on all parties


                                    Sevr Spacr            With 24/7 internet access to all documents, you do not need to
                                                          house paper copies


                                Garr Cenrarnw             lmmediate confirmation of service for your records. Documents are
                                                          not delayed in the mail or blocked by email spam blockers and
                                                          firewalls

         To take advantage of e-service, select an e-service provider and file the signed Stipulation with the Court. Parties
         can then e-serve documents through the selected provider. lnformation about e-service providers is available at
         the website for the Sonoma County Bar Association: http://www.sonomacountybar.org. The Court does not
         endorse one provider over another.
                                To learn more about available e-service providers and their fees, please visit thelr website

            Note: Hord-copy pleodings ore required to            be     filed with the Court in occordonce with opplicoble provisions of the
            Code of Civit Procedure, Catifornio Rules of Court ond local rules. You do not need to provide o courtesy copy of o
                                    served document to the specific deportment in which the motter hos been ossigned.


         DISCOVERY FACIIITATOR PROGRAM

         Effective January 1, 2008, the Sonoma County Superior Court promulgated Sonoma County Local Rule 4.14 which
         established the Discovery Facilitator Program. Participation in the Discovery Facilitator Program shall be deemed
         to satisfy a party's obligation to meet and confer under Sonoma County Local Rule 5.5 and applicable provisions of
         the Code of Civil Procedure and California Rules of Court. This program has been providing assistance in resolving
         discovery disputes and reducing the backlog of matters on the law and motion calendars in our civil law
         departments. The Sonoma County Superior Court encourages all attorneys and parties to utilize the Discovery
         Facilitator Program in order to help resolve or reduce the issues in dispute whether or not a discovery motion is
         filed.


    There is a link to Local Rule 4.14 and the list of discovery facilitator volunteers on the official website of the Sonoma
    County Superior Court at http://www.sonoma.courts.ca.gov. On the home page, under the "AVAII-ABLE PROGRAMS &
    HELP,section,clickonD@'Youcanthenclickoneither,,LocalRu]e4.14,,toobtainthe
    language of the local rule, or "List of Facilitators" for a list of the volunteer discovery facilitators and accompanying
    contact and biographical information.

         Pursuant to Local Rule 5.1.C:
    CV-1 [Rav.   M.y 17,20191            NTC OF ASSIGNMENT OF 1'UDGE FOR ALL PURPOSES, NTC OF CMC & OSC
                                                                CRC,   RuLs 3.110. 3.720-3.7:10; CCP55177 5, 583.410
a          i           t



        The moving party shall, on the date of filing, hand-deliver to the Assigned Judge a courtesy copy, which need not
,
        be file-endorsed, of any motion filed. The responding party shall, on the date of filing, hand-deliver to the
        Assigned Judge a courtesy copy, which need not be file-endorsed, of all opposition papers. Finally, the moving
        party shall, on the date of filing, hand-deliver to the Assigned Judge a courtesy copy, which need not be file-
        endorsed, of all reply papers.

        Pursuant to Local Rule 5.1.C.1:
        lf any matter scheduled on the law and motion calendar is resolved, dismissed, settled or becomes moot for any
        reason, the moving party shall immediately notii/ the judicial assistant for the Assigned Judge if the motion is to be
        dropped from the law and motion calendar. Said notification may be made by telephone, followed by a letter of
        confirmation.




    CV.l [Rrv. M.y U, 20191   NTC OF ASSIGNMENT OF     l   JUDGE FOR ALL PURPOSES, NTC OF CMC & OSC
                                                    cnc, Ruh5 3'110, 3 720-3'730; ccPss177's' 583 a10
C

     .TTCRNEy OR PARTY WIiHOUT ATTORNEY                    (tlafte   State Bat numbet. and   addess)
i     McCarthv & Holthus" t,l,P
      Seth Harris. Esr;. (SBN: 253802)
o     +n I I lvy Street
      San Die.qo. CA 92 I 0 I
               TELE PHOT]E NO.      6 9- 6             I
                                                   -1 0 CI                            FAX              I   9-685-481   I
           CRNEY FOR                Plai nti           B         ew [,oan Seru c n                         Lt,C
                   couRToF cALrFoRNrA, couNry                        oF SONOMA
           srREEr ADDRESS,     600 Administrati6n Drive
            r,ip.rLrNcADDRESS 600 Adrninistration Drive                                                                                         D. Junior, Clerk of the Gourt
           ctT'i AtiD ztP cooe $4p[6, Rosa. CA 95403
                                                                                                                                         'rlene
                                                                                                                                         ': Alexandria Hankes, Deputy Clerk
                        r.rot,le,   Hall of Justice
     CASE NAME:
     Bayview l,oan Servicing, l.,l.C v. [)ave Sianley, et al
                                                                                                                                          CASE Ni.]T,!BER
           CIVIL CASE COVER SHEET                                                            Complex Gase Designation
    E untirit"a
      (Amount
                E
                                  (Amount
                                                  tirituo
                                                        f]] count", E Joinder
                                                                                                                                                   scv-266245
                                                                                                      JUDGE:
             demanded             demanded is          Filed with first appearance by defendant
             exceeds $25,000) $25,000 or less)              (Cal. Rules of Court, rule 3.402)          DEPT:

                                      Items 1-6 helow must be                    instructions on
          Check one box below for the case type that best describes this case:
          Auto Tort                                   Contract                                Provisionally Complex Civil Litigation
                                                                                             Breach of contract/warranty (06)      (Cal. Rules of Court, rules 3.4G0-3.403)
                  Auto (22)
                  Uninsured rnotorist (46)                                                   Rule 3.740 collections (09)           EI    Rntitrustrrrade regulataon (03)
          Other Pl/PD/WD {Personal lnjurylProperty                                           Other collections i09)                 I    Construction defect      (1   0)
          =                Death) Tort                                                       lnsurance coverage (1 8)
                                                                                                                                   -I    Mass tort (40)
                  Asbestos {04i                                                        Other contract (37)                               Securities litigation (28)
                  Product liability (24)                                         Real Property                                      I    EnvironmentallToxic tort (30)
                  Medical malpractice (45)
                                                                                 fl    Eminentdomain/lnverse
                                                                                       condemnation (14)
                                                                                                                                    I    lnsurailce coverage claims arising from the
                                                                                                                                         above listed provisionally complex case
                  Other Pl/PDA/dD (23)
                                                                                 fl
                                                                                 a           Wrongful eviction (33)                      types (41)
                             (Other) Tort
                                                                                             Other real property (26)              Enforcement of Judgment
                  Business torilunfair business p.actice (07)
                  Civil rights (08)                                                             Detainer                           f]    Enfor**ent         of judgment (20)

                  Defamation {13)                                                            Commercial (31)                       Miscellaneous Civil Complaint
                  Fraud (16)                                                                 Residential (32i                            Rrco (27)
                  lntellectual property      (1   9)                                         Drugs (38)                                  Other complainl (not specified above) (42)
                  Professional negligence (25)                                   Judicial Review                                   Miscellaneous Civil Potition
                  Other non-Pl/PDA/VD tort (35)                                  E           ,qsset forfeiture i05)
                                                                                                                                   E     prrtn.rrhip and corporate governance (2'1)
          Em                                                                     E           Petition re. arbirration award (11)
                  Wrongful termination (36)
                  Other employrnent (15)
                                                                                 E
                                                                                 t-'l
                                                                                             Writ of mandate (02)
                                                                                             Other iudicial revaew (39)
                                                                                                                                   EI                      spe cified above) (43)
                                                                                                                                         Otn., petition (nof


    2. This case                 I   is
                                     is  is not complex under rule 3.400 of the California Rules of Court. lf the case is complex, mark the
                                           a./
          factors requiring exceptional judicial management:
          ,. f]    Large number of separately represented parties d.           Large number of witnesses
          b. [f    Extensive motion praclice raising difficult or novel
                                                                           - Coordination with related actions pending in one or more courts
                                                                        ".
                                                                           H
                   issues that will be time-consuming to resolve               in other counties, states, or countries, or in a federal court
             E]    Substantial amount    of documentary evidence        f.     Substantial postjudgment judicial supervision
          ".
                                                               =
    3. Remedies sought {check alt that apply): a.[ monetary b.ffi                                                 nonmonetary; declaratory or injunctive          relief c. f]punitive
    4. Number of causes of action (specity) Three (3)
    5. This case II is E is not a class action suit.
    6.    lf there are any known related cases, file and serve a noti ce of related case.                                          may use farm CM-01 5.)
    oarc. 31261202A
    Seth Harris, Esq.
                                             OR PRINT TJ,AME)
                                                                                                           NOTIGE
     r    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
          under the Probate Code, Family Code, or Welfare and lnstitutions Code). (Cal. Rules of Court, rule 3.220.) Fatlure to file may result
       in sanctions.
     r File this cover sheet in addition to any cover sheet required by local court rule.
     o lf thiscaseiscomplexunderrule3.400etseq.oftheCaliforniaRulesof Court,youmustserveacopyof thiscoversheetonall
       other parties to the action or proceeding.
     .    Unlessthisisacollectionscaseunderrule3.T40oracomplexcase,thiscoversheetwill                                                     beusedforstatistical purposesonY";",,"r,
    Fc#                                                                                                                                                 of Court. rules 2.30. 3.2?c. 3 400--" 403. 3.740:
        ACopted for [4andatory Use
     Judicial Ccuncil of Ca!ifcmia
                                                                                 CIVIL CASE COVER SHEET                                               Cal Slandards of Judicrai Admrnistration, std.   3.-10
     Ch+oiC IRev July 1. 2C07j                                                                                                                                                     wwvt.coudinlo.ca-gcv
a
    a
                                                                                                                                                          cM-010
                                         INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
b
        To Plaintiffs and Others Filing First Papers. lf you are filing a first paper (for example, a complaint) in a civil case, you must
        complete and file, along with your first paper, the Clvrl Case Cover Sheet contained on page 1. This information will be used to compile
        statistics aboutthe types and numbers of cases filed. You must complete items 1 through 6 on the sheet. ln item 1. you must check
        one box for the case type that best describes the case. lf the case fits both a general and a more specific type of case listed in item 1,
        check the more specific one" lf the case has multiple causes of action, check the box that best indicates the primary cause of action.
        To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
        sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
        its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Gourt.
        To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
        owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
        which property, services, or money was acquired on credit. A collections case does not include an action seeking the foltowing: (1) tort
        damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
        attachment. The identification of a case as a rule 3 740 collections case on this form means that it will be exempt from the general
        time-for-service requirements and case management rules. unless a defendant files a responsive pleading. A rule 3.740 collections
        case will be subject to the requirements for service and obtaining a judgment in rute 3.740.
        To Parties in Complex Cases, ln complex cases only, pa(ies must also use the Clvl Case Cover Sheef to designate whether the
        case is complex. lf a plaintiff believes the case is complex under rule 3.400 of the California Rules of Coutl, this must be indicated by
        completing the appropriate boxes in items 1 and 2. lf a plaintiff designates a case as complex, the cover sheet must be served with the
        complaint on atl parlies to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
        plaintiffs designation. a counter-designation that the case is not complex. or. if the piaintiff has made no designation. a designation that
        the case is complex.                                     cAsE wpES AND E,AM'LES
        Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Gal.
             Auto (22)-Personal       lnjury/Property                 Breach of ContractM/arranty      (06)         Rules of Court Rules 3.400-3'403)
                     DamageAly'rongful    Death                           Breach of   Rental/Lease                       AntitrusVTrade Regulation (03)
            uninsured Motorist (46) (lf the                                   contract (not unlawful    detainer         construction Defect (10)
                   case involves an uninsured                                    or wrongful     eviction)               Claims lnvolving Mass Tort (40)
                   motorist ctaim subject to                              ContractArVarranty Breach-Sellet               Securities Litigation (28i
                   arbitration, checkihis item                                 Plainlift (not fraud or negligence.)      Environmentalffoxic Tort (30)
                   instead of Auto)                                       Negligent Breach of Contracll                  lnsurance Coverage Claims
        other pupDT14TD (Fcrsonal lnjury/                                      warranty                                       (arising fram provisianally complex
        property Damage/wrongtut oeittrl                                  other Breach of contracuwarranty                    case type #sred a*ove) (41)
        Tort                                                          Collections (e.g., money owed. cpen            Enforcement of Judgment
            Asbestos (04)                                                 book accounts) (09)                            Etrforcement ofJudgment {20)
                 Asbesios property Damage                                 Collection Case-Seller Plaintiff                   Abstract of Judgrnent (Out of
                 Asbestos Fer$ona! lnjury/                                Other Promissory Note/Collections                        County)
                        Wronoful Death --
                                                                               Case                                             onfession of Judgment (non-
                                          ;-"r^. or                   lnsurance Coverage (not provisionally                         domestic relations)
            Product Liability (nof asbesfos      ^.                       complex) (18)
                 toxic/enviranmenlat) (241                                                                                    Sister State Judgment
            Medical Malpractice (45i                                      Auto Subrogation                                   Administrative Agency Award
                 Medical Malpraciice-                                     Other Coverage                                          @ot unpaid laxes)
                        physicians & surgeons                         other contract (37)                                     Petitionicertification of Entry of
                                                                          contractual Fraud                                       Judgment on unpaid raxes
                 other professional Heallh care
                        Malpractlce                                    _  Other  Contract   Dispute                           Other*Fnforcement of Judgment
            Other PI/PDMD {23)                                      -_ Property
                                                                  Real
                 Premises t-iabitiiy (e.g., slip                      Eminent Dornain/lnverse                        Miscellaneous Civil Complaint
                        and falt)                                         Condemnation (14)                              RICO (27)
                  lntentional Elodily lnjurylPDMD                     Wrongful Eviction    (33)                          Other  Complainl (not specified
                                                                                                                              above) (42)
                        (e.g., assault, vandalism)                    Other Real Property (e.g., quiet title) (26)
                  tnteniionat lnfliction or                               yrrit of possession or Rear   proferty               Birtlfl,lrt:H$S?flroil'lrrr-
                        Emotional Distress                                Mortgage    Foreclosure                                  harassment)
                 Negligent    lnfliction of
                      - Emotional                                          euiet Tile                                          Mechanics Lien
                                      Distress                             Other Real property (not eminent
                                                                                                                               Other Commercial Complaint
                 Other Pl/PDil{D                                           dofiain, landtord/tenant. or
                                                                                                                                   case (non+orunon-complex)
        Non-PUPDMD {other) Tort                                             foreclasure)                                       other civil complaint
            Business Toruunfair Business                          unlawful Detainer                                               (nonloftlnon-complex)
                Practice (07)                                         Commercial (31)                                  Miscellaneous Civil petation
            Civil Rights (e.9., discrimination,                       Residential (32)                                     partnership and Corporate
                false arfest) (not civil                              Drugs (38) fif the case involves illegal                 Governance (2.1)
                 harassrnent, (08)                                         drugs, check this item; otherwise,. .           Other petition @A sbecifieA
            Defamation (e.9., slander. libel)                              repofi as Cammercial ar Residential)                above) \43\
                    (13)                                          Judicial Review                                              Civil Haiassment
            Fraud (16)                                                 sset Forfeiture (05)                                    Workplace Violence
            lntellectual Propedy (19)                                 Petition Re: Arbitration Award (1 )
                                                                                                        1                      EtderiDependent Adutt
            Professional Negligence (25)                              V{rit of Mandate (02)                                         Abuse
                Legal Malpractice                                          Writ-Administrative Mandamus
                                                                                                    rlsu vuu*
                                                                                                                               Election contest
                other Professional Malpractice                             writ-Mandarnus on Limited     court
                      (not medicat or tesat)                                 case    Mater                                     E$ili:l H ffi|ff F,:il?:,"
             Other Non-PUPDAA/D Tort (35)                                 Writ-Other Limited Court   Case                          Claim
        Employment                                                           Review                                            other civil petition
            Wrongful Termination (36)                                 Other Judicial Review (39)
            Other Employment (15)                                         Review of pealth Offi6er Order
                                                                          Notice of Appeal-Labor

        ajM-C10   iRev. Juty 1.24D71
                                                                      CIVIL CASE COVER SHEET
                                         ptrBas# prPcs   If,*
                                                     ula Sofln;                            Save This Form            PrhtThis Fonn             l'![*dii]fhie Fanm
